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    EXHIBIT I
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                                                                                            United States Foreign
                                                                                       Intelligence Surveillance Court

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                                                           UNITED STATES               Maura Peterson, Clerk of Court
                                     FOREIGN INTELLIGENCE SURVEII..LANCE COURT

                                                          WASHINGTON, D.C.




                                              MEMORANDUM OPINION AND ORDER

                     The Foreign Intelligence Surveillance Court (FISC) today addresses the "Government's

          Ex Parte Submission of Reauthorization Certifications and Related Procedures, Ex Parte

          Submission of Amended Certifications, and Request for an Order Approving Such Certifications

          and Amended Certifications," filed on October 18, 2021 ("October 18, 2021 Submission") and

          the "Government's Ex Parte Submission of Amendments to DNI/AG 702(h) Certifications and

          Related Procedures, Ex Parte Submission of Amendments to DNI/AG 702(h) and DNI/AG




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           702(g) Certifications, and Request for an Order Approving Such Amended Certifications," filed

           on March 18, 2022 ("March 18, 2022 Submission"). (Collectively, the October 18, 2021 and

           March 18, 2022 Submissions will be referred to herein as the "2021 Certification Submissions.")

           The October I~' 2021 Submission, as amended by the March 18, 2022 Submission, is subject to

           review under Section 702 of the Foreign Intelligence Surveillance Act (PISA) as amended,

           codified at 50 U.S.C. § 1881a. The government's request for approval of the amended

           certifications and related procedures is granted for the reasons stated in this Memorandum

           Opinion and Order, subject to certain reporting and other requirements set forth at the end of this

          document.

                    In addition to seeking authorization to continue forms of acquisition currently being

          conducted under Section 702, the 2021 Certification Submission includes a new proposal for the




          issues presented by forms of acquisition currently being conducted under Section 702, and then

          addresses

                    Specifically, Part I of this Opinion summarizes the government's submissions and the

          procedural history of the Court's consideration of them. In Part II, the Court finds that the

          certifications before it contain the elements required by Section 702(h). Part III addresses the

          proposed targeting procedures and Part IV addresses the proposed minimization and querying


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           procedures. The Court finds that those procedures, as written, satisfy the requirements of the

           statute. Notably, Part IV.D examines deficiencies in the querying practices of the Federal Bureau

           of Investigation (FBI) and the government's responses to them, and concludes that the FBI's

           querying and minimization procedures, as written and as likely to be implemented, satisfy

           statutory requirements.

                     In Part V, the Court evaluates the proposed procedures under the requirements of the

           Fourth Amendment and finds them to be consistent with those requirements, as written and in

           relation to current forms of Section 702 acquisition. The Court also fmds that the FBI's querying

           and minimization procedures are likely to be implemented in a manner consistent with the Fourth

           Amendment. Part VI examines issues regarding implementation of, and compliance with,

           Section 702 procedures (other than FBI querying issues previously addressed) and concludes that

           the overall state of compliance and implementation permits a finding that the procedures, as they

           are expected to be implemented, comport with statutory and Fourth Amendment requirements.

           In Part vn, the Court evaluate .                                                      ,. nd the

           certification and targeting and          1za 10n p oce I   p      ng I ii p p          I. The Court

           finds that applicable statutory and Fourth Amendment requirements are met. Finally, in Part

           VIII, the Court summarizes its disposition and imposes certain reporting and other requirements.




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           I.       THE GOVERNMENT'S SUBMISSIONS AND PROCEDURAL HISTORY

                     A.       The 2021 Certifications and 2022 Amendments

                     The October 18, 2021 Submission include           ertifications executed by the Attorney

           General (AG) 1 and the Director of National Intelligence (DNI) pursuant to Section 702:




           Each of those certifications (collectively referred to as "the 2021 Certifications") was

          accompanied by:

                    (1) Supporting affidavits of the Director of the NSA, the Director of the FBI, the Director
                    of the Central Intelligence Agency (CIA), and the Director of the National
                    Counterterrorism Center (NCTC);

                    (2) Two sets of targeting procedures, which govern NSA and the FBI, respectively. The
                    targeting procedures for NSA appear as Exhibit A to each certification, and those for the
                    FBI appear as Exhibit C. The targeting procedures for each certification are identical;

                    (3) Four sets of minimization procedures, which govern NSA, the FBI, the CIA, and
                    NCTC, respectively. The minimization procedures for NSA appear as Exhibit B to each
                    certification, those for the FBI appear as Exhibit D, those for the CIA appear as Exhibit E,
                                            ppear as Exhibit G. (Exhibit F
                                           ·dentifies the individuals or ent · 1

                    minimizati

                    (4) Four sets of querying procedures, which govern NSA, the FBI, the CIA, and NCTC,
                    respectively. The querying procedures for NSA appear as Exhibit H to each certification,



                    1 FISA defines "Attorney General" to include "the Attorney General of the United States

          (or Acting Attorney General), the Deputy Attorney General, or, upon the designation of the
          Attorney General, . . . the Assistant Attorney General for N ational Security." 50 U.S.C.
          § 180J(g).


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                     those for the FBI appear as Exhibit I, those for the CIA appear as Exhibit J, and those for
                     NCTC appear as Exhibit K. The querying procedures for each certification are identical.

           The October 18, 2021 Submission also included an explanatory memorandum prepared by the

           Department of Justice ("October 18, 2021 Memorandum").

                     The October 18, 202 1 Submission presented three particularly significant sets of issues.

                                                                             In March 2021, the government

           had submitte                                       the form of draft (or "read copy") proposed

           amendments to predecessor certifications ("the 2020 Certifications"). See In re DNI/AG 702(h)

          Certificatio                                            endment to DNVAG 702 Certification

                      read copy filed Mar. 30, 2021); Government's Ex Parte Submission of Amendment to

           DNVAG 702(h) Certification and Related Procedures, and Request for an Order Approving Such

          Amended Certification (read copy filed Mar. 30, 2021) ("March 30, 2021 Memorandum"). That

          same day, the Court, "find[ing] that this case presents a novel or significant interpretation of law"

          within the meaning of 50 U.S.C. § 1803(i)(2)(A), appointed amicus curiae Laura K. Donohue,

          Esq. to aid in the Court's consideration                           In re DNI/AG 702(h) Certification

                                                    rder Appointing Amicus Curiae (Mar. 30, 2021).

                    The arnicus and the government timely filed their respective briefs on May 18 (opening

          amicus brief), June 1 (government's response brief), and June 16, 2021 (amicus reply brief). But

          before the Court was able to act on the proposed amendments, the government submitted the

          2021 Certifications on October 18, 2021. T he government include                               hanges to

          NSA ' s targeting and minimization procedures in the October 18, 2021 Submission and



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          , incorporated by reference its March 30, 2021 Memorandum and June 1, 2021 brief regardin



                     On November 23, 2021, the Court re-appointed amicus Laura Donohue for further

           briefing of the issues presented b                          e context of these renewal

           certifications and set out additional issues for briefing.2 The Court received further briefing from

           the government and amicus on December 3, 2021, and December 13, 2021 , respectively. In

           response to follow-up _questions and concerns expressed by the Court, the government submitted

           proposed revised procedures on February 2, 2022, including a draft affidavit from an NSA

           official that described steps that NSA would take under its targeting procedures before

                                                          ovemment's Ex Parte Submission of Amendments to

           DNI/AG 702(h) Certifications and Related Procedures, Ex Parte Submission of Amendments to

           DNI/AG 702(h) and DNI/AG 702(g) Certifications, and Request for an Order Approving Such

           Amended Certifications; Supplemental Description of Pre-Targeting Determinations, Declaration

          0 i                       I' roposed NSA Section 702 Targeting Procedures; and Proposed NSA

          Section 702 Minimization Procedures (Feb. 2, 2022). On February 18, at the Court's invitation,

          the amicus filed a written assessment of the materials submitted by the government on February

          2, 2022. Amicus Curiae Written Assessment of Government's Feb. 2, 2022 Supplemental

         . Materials (Feb. 18, 2022) ("Amicus Assessment").


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                    By order dated December 8, 2021 , the Court authorized the amicus to consult with Dr.
          Wayne Chung regarding her duties in this case. Dr. Chung has also been designated as eligible
          to serve as an amicus pursuant to Section 1801(i)(l). The able assistance of both Professor
          Donohue and Dr. Chung is acknowledged and greatly appreciated.


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                     Second, the government proposed amendments to the FBI's querying procedures to

           clarify querying standards and address the FBI's pattern of conducting broad, suspicionless

           queries that violate the requirement that its queries of unminimized Section 702 information be

           reasonably likely to retrieve foreign intelligence information or evidence of a crime. In response

           to recently reported querying violations, the Court issued an Order on September 2, 2021,

           requiring the government to provide, among other things, a description of steps to improve FBI

           compliance with the querying standard and proposed revisions to affected procedures for Section

           702 and other forms of FISA collection that "provide a full and explicit articulation of the

           requirements for querying." See Docket Nos.                          Order in Response to

           Querying Violations at 14 (Sept. 2, 202 1) ("Querying Violations Order").

                    On November 3, 2021 , the government filed its Submission in Response to Court's Order

           in Response to Querying Violations. On December 16, 2021 , the Court provided the government

           with additional questions concerning FBI queries of Section 702-acquired data. The government

           has continued to provide information responsive to the Court' s questions as they relate to the

          proposed renewal certifications. Moreover, as discussed at pages 28-34 infra, compliance issues

          have continued to surface.

                    Third, the October 18, 2021 Submission included a new provision in NSA's querying




                                                     The Court questioned whether the proposed amendments




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           comported with the Fourth Amendment and statutory minimization requirements. After

           extensive discussions with the Court on the issues presented, the government is no longer

           pursuing those amendments in the context of this renewal.

                     B.        Extensions of Time for the Court's Consideration of the Certifications

                     The Court had 30 days from the date of the October 18, 2021 Submission to review and

           rule on it. See§ 702(j)(l)(B). The Court may extend this period, however, "as necessary for

           good cause in a manner consistent with national security." See§ 702(k)(2). On October 28,

           2021, the government submitted a Motion for Order Extending Time Limit Pursuant to 50 U.S.C.

           § 1881 a(k)(2) ("First Extension Motion"), proposing to extend through February 15, 2022, the

           Court's time to review the 2021 Certifications and issue an order regarding them. The

           government identified as good cause for such extension the time needed for it to respond to the

           Court's order on FBI querying violations, for the FBI to implement technological and training

           responses to those compliance problems, and for the Court to evaluate their sufficiency. See First

           Extension Motion at 9. The Court found that these circumstances constituted good cause and

           granted the requested extension on October 28, 2021.

                     On February 7, 2022, the government moved for a further extension through April 29,

           2022, of the time for the Court's consideration of these certifications ("Second Extension

           Motion"). As grounds for the further extension, the government cited ongoing dialogue with the

           Court with regard to FBI querying practices an                           s well as its intention to

           submit additional material that may call for further input from the amicus. Second Extension




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           Motion at 8. The Court found that these circumstances constituted good cause and granted the

           requested extension on February 7, 2022. By operation of Section 702(j)(5)(A)-(B), the 2020

           Certifications and related procedures remained in effect during the extended period of

           consideration of the 2021 Certifications.

                     c.        The 2022 Amendments

                     On March 18, 2022, the AG and DNI executed Amendments to each of the 2021

           Certifications pursuant to Section 702(i)(l)(c). See Amendment to DNI/AG 702(h) Certification




                                                                             (collectively, the "2022

           Amendments"). The March 18, 2022 Submission included the 2022 Amendments, affidavits in

           support of each amendment by the Director of NSA, a supporting declaration from NSA official

                                     "Supplemental Description of Pre-Targeting Determinations"), and revised

           targeting, minimization, and querying procedures for the NSA, which replace Exhibits A, B, and

          H, respectively, to each of the initial 2021 Certifications. That submission also included an

          explanatory memorandum prepared by DOJ ("March 18, 2022 Memorandum"). The March 18,

          2022 Submission made further amendments to the NSA targeting and minimization procedures

          regarding                           nd rescinded the changes to NSA 's procedures regarding

                               t e government intends to pursue in "a separate, later amendment to the 2021

          Certifications." March 18, 2022 M emorandum at 3. As a result, the NSA querying procedures




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           now before the Court are the same as those approved on November 18, 2020, as part of the

           Court's review of the 2020 Certifications. See Docket Nos.                               em. Op. and

           Order (Nov. 18, 2020) (''November 18, 2020 Opinion").

                     D.        Subiect Matter of the Certifications

                     Each certification involves "the targeting of non-United States persons reasonably

           believed to be located outside the United States to acquire foreign intelligence information."




                     The 2021 Certifications generally propose to continue acquisitions of foreign intelligence

          infonnation now being conducted under the 2020 Certifications. The 2020 Certifications are also

                                                          he same subjects as the corresponding 2021


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           Certifications. The 2020 Certifications, in turn, generally renewed authorizations to acquire

           foreign intelligence information under a series of Section 702 certifications that dates back to




           dockets, together with Docket Numbers

           collective]y referred to as "the Prior 702 Dockets."

                    The government also seeks approval of amendments to the certifications in the Prior 702

           Dockets, such that NSA, the CIA, the FBI, and NCTC henceforward would apply the same

           minimization and querying procedures to information obtained under prior certifications as they

           would to information to be obtained under the 2021 Certifications. See October 18, 2021




          II.       REVIEW OF THE 2021 CERTIFICATIONS AND PRIOR CERTIFICATIONS,
                    AS AMENDED

                    The Court must review a Section 702 certification "to determine whether [it] contains all

          the required elements." § 702(j)(2)(A). Examination of the 2021 Certifications confirms that:



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                    (3) as required by§ 702(h)(2)(B), they are accompanied by targeting procedures
                    and minimization procedures adopted in accordance with§ 702(d) and (e),
                    respectively;

                    (4) they are supported by affidavits of appropriate national-security officials, as
                    described in§ 702(h)(2)(C); and

                    (5) each certification includes an effective date in compliance with§ 702(h)(2)(D)
                    - specifically, the certifications become effective on November 17, 2021, or the
                    date upon which the Court issues a                    ·        ·    ·
                           .         .        .
                                                         The Amended Certifications include an
                    effective date of the d .    pon which the Court issues an order conce · the


                    (The statement described in § 702(h)(2)(E) is not required because there was no
                    "exigent circumstances" determination under§ 702(c)(2).)

                    The Court, accordingly, concludes that the 2021 Certifications contain all the required

          statutory elements. Similarly, it has reviewed the certifications in the Prior 702 Dockets, as

          amended by the 2021 Certifications, and finds that they also contain all the elements required by

          the statute. Those amendments have the same effective dates as the 2021 Certifications. See



                    The Court now turns to the proposed targeting, querying, and minimization procedures.

          The following discussion primarily focuses on changes to previously approved procedures, but


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           the procedures as a whole must be consistent with statutory and constitutional requirements.

           Some technical, conforming edits and other minor changes are not specifically discussed because

           they raise no issues material to the Court's review. Issue specific to                         re

           addressed in Part VIl below.

           III.      THE TARGETING PROCEDURES

                     Targeting procedures must be "reasonably designed" to "ensure that any acquisition

           authorized under[§ 702(a)] is limited to targeting persons reasonably believed to be located

           outside the United States" and to "prevent the intentional acquisition of any communication as to

           which the sender and all intended recipients are known at the time of the acquisition to be located

           in the United States." § 702(d)(l); see also§ 702(b)(l) (acquisitions "may not intentionally

           target any person known at the time of acquisition to be located in the United States");

           § 702(b)(4) (acquisitions "may not intentionally acquire any communication as to which the

          sender and all intended recipients are known at the time of acquisition to be located in the United

          States"). Additionally, the government uses the targeting procedures to ensure that acquisitions

          do "not intentionally target a United States person reasonably believed to be located outside the

          United States." § 702(b)(3). Pursuant to§ 702(j)(2)(B), the Court assesses whether the targeting

          procedures satisfy those criteria. It must also determine whether such procedures, along with the

          querying and minimization procedures, are consistent with the requirements of the Fourth

          Amendment. See § 702(j)(3)(A)-(B).




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                     A.       Backeround on Acquisition and Tareetine Under Section 702

                     The government targets a person under Section 702 by tasking for acquisition one
                     or more selectors (e.g., identifiers for email or other electronic-communication
                     accounts) associated with that person. Section 702 encompasses different forms
                     of acquisition. The government may acquire information "upstream," as it transits
                     the facilities of an Internet backbone carri               " 11"'""'""tream " from
                     systems operated by providers of services                                  Traditional
                                           · · s may also be a

                                                 Mem. Op. and Order at 11 (Oct. 18, 2018) (citation omitted)

           ("October 18, 2018 Opinion"), aff'd in part, In re DNIIAG 702(h) Certifications, 941 F.3d 547

           (FISCR 2019) (per curiam).

                    NSA is the lead agency in making targeting decisions under Section 702. It may not task

           a selector without first determining that the target is reasonably believed to be a non-U .S. person

           outside the United States (a "foreignness determination"). In making such determinations, NSA

           reviews certain categories of information about the proposed target and evaluates "the totality of

           the circumstances based on the information available with respect to that person




          Targeting Procedures § I at 1. An NSA targeting decision must also be supported by a

          "particularized and fact-based" assessment that ''the target is expected to possess, receive, and/or

          is likely to communicate foreign intelligence information" relevant to the subject matter of a

          Section 702 certification. Id. at 4.

                    NSA is also required to conduct post-targeting analysis "to detect those occasions when a

          person who when targeted was reasonably believed to be located outside the United States is

          located in the United States." Id. § IT at 6-7. This post-targeting analysis involves routinely


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           comparing each tasked selector against independently-acquired information for indications that it

           may be used in the United States, and examination of the content of communications obtained

           through surveillance of a tasked selector for indications that the target is now in, or may enter,

           the United States. Id. at 7-8. lfNSA concludes that a target is in the United States or is a U.S.

           person, or cannot resolve seemingly conflicting evidence on either point, it must terminate the

           acquisition without delay. Id. § Il at 8, § IV at I 0.




           by its targeting procedures. Under           ose proce

           selectors that have already been approved for taskin

           targeting procedures. See FBI Targeting Procedures § I. I. "Thus, the FBI Targeting Procedures

           apply in addition to the NSA Targeting Procedures,"

           See Docket No                         Mem. Op. at 20 (Sept. 4, 2008) ("September 4, 2008 Opinion").

                    NSA provides to the FBI an explanation of its prior foreignness determination for each

           requested selector (or "Designated Account") for which NS                                       equest. See

           FBI Targeting Procedures §§ I. I , I.2. The FBI, "in consultation with NSA, will review and

          evaluate the sufficiency of' that determination. Id. § I.3. The FBI also runs certain checks of

          infonnation in its possession in the course of that review and evaluation. "Unless the FB

                                           hat the user of the Designated Account is a United States person or is

          located inside of the U nited States, the FBI will


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                                           Id. § 1.5. "If the FBI                                  he Designated

           Account is not appropriate for tasking .. ., the FBI will inform NSA" and will not

                      that account unless and until it "determines that the Designated Account is in fact

           appropriate for tasking." Id. § 1.8.

                     B.        NSA Tareetin& Procedures

                     The only noteworthy changes proposed for NSA's Targeting Procedures relate t

                                  d are discussed in Part VII below.

                     C.        FBI Tareetine; Procedures

                     No changes are proposed to the FBI's targeting procedures from those approved by the

           Court in the context of the 2020 Certifications. The Court fmds that those procedures, as written,

           satisfy applicable statutory requirements.

                     D.        Conclusion

                     The FISC has previously found the current versions of the FBI and NSA ' s targeting

           procedures to comply with statutory requirements. See November 18, 2020 Opinion at 11-12, 60.

           For the reasons stated above and in the Court's opinions in the Prior 702 Dockets, the Court

           concludes that, in relation to the forms of acquisition currently being conducted under the 2020

           Certifications, the NSA Targeting Procedures and the FBI Targeting Procedures, as written, are

           reasonably designed to: (1) ensure that any acquisition authorized under the 2021 Certifications

           is limited to targeting persons reasonably believed to be located outside the United States, (2)

           prevent the intentional acquisition of any communication as to which the sender and all intended

           recipients are known at the time of the acquisition to be located in the United States, and (3)


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          prevent U.S. persons from being targeted for acquisition. The first two of these findings are

           required by Section 702(d)(l). The third finding is relevant to the Court's analysis of whether

           these procedures are consistent with the requirements of the Fourth Amendment. See pages 58-

          66 infra.

          IV.       THE MINIMIZATION PROCEDURES AND QUERYING PROCEDURES

                    Pursuant to § 702(j)(2)(C), the Court must also assess whether the minimization

          procedures comply with specified statutory requirements. Section 702(e)(I) requires that the

          procedures "meet the definition of minimization procedures under [50 U.S.C. § 1801(h) or

           1821 (4)]." That definition requires

                    ( 1) specific procedures ... that are reasonably designed in light of the pwpose and
                    technique of the particular surveillance [ or physical search], to minimize the
                    acquisition and retention, and prohibit the dissemination, of nonpublicly available
                    information concerning unconsenting United States persons consistent with the
                    need of the United States to obtain, produce, and disseminate foreign intelligence
                    information;

                    (2) procedures that require that nonpublicly available information, which is not
                    foreign intelligence information, as defmed in [50 U.S.C. § 1801(e)(l)], shall not
                    be disseminated in a manner that identifies any United States person, without such
                    person's consent, unless such person's identity is necessary to understand foreign
                    intelligence information or assess its importance; [ and]

                    (3) notwithstanding paragraphs (1) and (2), procedures that allow for the retention
                    and dissemination of information that is evidence of a crime which has been, is
                    being, or is about to be committed and that is to be retained or disseminated for
                    law enforcement pwposes[.]

          § 1801 (h). The definition of "minimization procedures" at § 1821 (4) is substantively identical to

          the one at § 1801(h) (although § 1821 (4)(A) refers to "the purposes ... of the particular physical

          search"). For simplicity, subsequent citations refer only to§ 1801(h).


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                     In applying these statutory requirements, the Court is mindful that Section 702

           acquisitions target persons reasonably believed to be non-U.S. persons outside the United States.

           Although such targets may communicate with or about U.S. persons, Section 702 acquisitions, as

           a general matter, are less likely to acquire infonnation about U.S. persons that is unrelated to the

           foreign intelligence purpose of the acquisition than, for example, electronic surveillance or

           physical search of a home or workplace within the United States that a target shares with U.S.

           persons. Different minimization protections, accordingly, may be appropriate for non-Section

           702 collection directed at persons -    especially U.S. persons -   within the United States.

                     The AG, in consultation with the DNI, also must "adopt querying procedures consistent

           with the requirements of the fourth amendment ... for infonnation collected" pursuant to a

           Section 702 certification, see§ 702(f)(l )(A), and must "ensure" that those procedures "include a

           technical procedure whereby a record is kept of each United States person query term used for a

           query." § 702(f)(IXB). The FISC must determine whether querying procedures satisfy those

           requirements. See § 702(j)(3)(A)-(B).

                     Each agency's procedures make clear that the querying and minimization procedures are

           to be read and applied together. See, e.g., NSA Querying Procedures § I ("These querying

           procedures should be read and applied in conjunction with [the separate] minimization

           procedures, and nothing in these procedures permits any actions that would otherwise be

          prohibited by those minimization procedures."); FBI Querying Procedures§ I (same); NSA

          Minimization Procedures§ I ("These minimization procedures apply in addition to separate

          querying procedures. . .. [They] should be read and applied in conjunction with those querying


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           procedures, and nothing in these procedures permits any actions that would otherwise be

           prohibited by those querying procedures."); FBI Minimization Procedures§ I.A (same). The

           Court therefore will assess whether each agency's querying procedures, in conjunction with its

           minimization procedures, satisfy § 180 I (h).

                     A.        Backaround on Section 702 Minimization and Oueryina

                     Each agency with access to "raw," or unminimized, information obtained under Section

           702 (NSA, FBI, CIA, and NCTC) is governed by its own set of minimization procedures in

           handling that information. This opinion uses the terms "raw" and ''unminimized"

           interchangeably. The NCTC Minimization Procedures define "raw" information as:

                     section 702-acquired information that (i) is in the same or substantially the same
                     format as when NSA or FBI acquired it, or (ii) has been processed only as
                     necessary to render it into a form in which it can be evaluated to determine
                     whether it reasonably appears to be foreign intelligence information or to be
                     necessary to understand foreign intelligence information or assess its importance.

           NCTC Minimization Procedures § A.3.d.

                     There are significant differences among the various sets of minimization procedures

           based on factors such as the agencies' differing missions, legal and policy constraints, and

          technical infrastructure, but they share several important features. Regarding acquisition, NSA is

          required to conduct acquisitions "in a manner designed, to the greatest extent reasonably feasible,

          to minimize the acquisition of information not relevant to the authorized purpose of the




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            acquisition." NSA Minimization Procedures§ 4(a). The FBI must follow its targeting

            procedures in conducting acquisitions. See FBI Minimization Procedures § IT.A. I. 3

                     Post-acquisition, in broad outline, each agency's procedures:

                     •         set criteria for the indefinite retention of information of or concerning United
                               States persons and generally applicable timetables for destroying information that
                               does not meet those criteria, see NSA Minimization Procedures § 4; FBI
                               Minimization Procedures §§ ill.C. l .b, ill.D.4, ill.E.4; CIA Minimization
                               Procedures §§ 2, 3; NCTC Minimization Procedures §§ B.2, B.3;

                     •         provide special rules for protecting attorney-client communications, see NSA
                               Minimization Procedures§ 5; FBI Minimization Procedures§§ m .D.5, m.E.6;
                               CIA Minimization Procedures§ 7.a; NCTC Minimization Procedures§ C.5;

                     •         set standards and procedures for disseminating information, see NSA
                               Minimization Procedures§§ 8, JO; FBI Minimization Procedures§ IV; CIA
                               Minimization Procedures§§ 5, 7.c; NCTC Minimization Procedures§ D; and

                     •         prescribe procedures for obtaining technical or linguistic assistance from other
                               agencies and/or from foreign governments, see NSA Minimization Procedures §
                               11 (b); FBI Minimization Procedures § IV .D; CIA Minimization Procedures § 7 .b;
                               NCTC Minimization Procedures § D.S.

                     The minimization procedures also address situations in which the government reasonably

           believed at the time of acquisition that the target was a non-U.S. person outside the United

           States, but later learns that the target actually was a U.S. person or inside the United States. The

           Court has concluded that the government is authorized to acquire such communications under

           Section 702. See September 4, 2008 Opinion at 25-27. Nonetheless, the procedures of each

           agency require destruction of information obtained under those circumstances, unless the head of



                     3
                    As discussed above, NSA and the FBI are the only agencies that conduct Section 702
           acquisitions, and the FBI applies its targeting procedures to, and acquires data for, only selectors
           that NSA has approved for tasking under its targeting procedures. See pages 14-15 supra.

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           the agency authorizes its retention after making certain findings for the specific information to be

           retained. See NSA Minimization Procedures § 4(d); FBI Minimization Procedures § m .A.3; CIA

           Minimization Procedures§ 8; NCTC Minimization Procedures § 8.4.

                     Each agency's querying procedures contain recordkeeping requirements for the use of

           U.S.-person query terms in response to§ 702(f)(l )(B). See NSA Querying Procedures§ IV.B;

           FBI Querying Procedures§ IV.B; CIA Querying Procedures§ IV.B; NCTC Querying Procedures

           § IV.B. They permit investigative and analytical personnel at the CIA, NSA, and NCTC to

           conduct queries of unminimized Section 702 information if the queries are reasonably likely to

           return foreign intelligence infonnation. See NSA Querying Procedures § JV .A; CIA Querying

           Procedures§ IV.A; NCTC Querying Procedures§ IV.A. Their FBI counterparts may conduct

           such queries if they are reasonably likely to return foreign intelligence information or evidence of

           a crime. See FBI Querying Procedures § IV.A.

                     B.        Global Change to Minimization Procedures to Ensure Compliance with
                               Statutory Limitations on Dissemination

                     There is one substantive change that cuts across all four agencies' minimization

           procedures, which is intended to clarify that disseminations must comply with 50 U.S .C. ·

           § l 80l(h)(2). Section 1801(h)(2) specifies that minimization procedures must "require that

           nonpublicly available information, which is not foreign intelligence information, as defined in

           [50 U.S.C. § 1801(e)(l )], shall not be disseminated in a manner that identifies any United States

           person, without such person's consent, unless such person's identity is necessary to understand




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           foreign intelligence information or assess its importance." Each set of minimization procedures

           before the Court includes the following language:

                     Nothing in these procedures authorizes the dissemination of non-publicly
                     available information that identifies any United States person without such
                     person's consent unless: (1) such person's identity is necessary to
                     understand foreign intelligence information or assess its importance; (2)
                     the information is foreign intelligence information as defined in 50 U.S.C.
                     § 180 I (e)(I); or (3) the information is evidence of a crime which has been,
                     is being, or is about to be committed and that is to be disseminated for law
                     enforcement purposes.

           See NSA Minimization Procedures § 8; FBI Minimization Procedures § N; CIA Minimization

           Procedures§ 5; NCTC Minimization Procedures§ D.l. Adopting this language is a helpful

           clarification of the dissemination rules.

                     C.        NSA, CIA, and NCTC Oueryin& Procedures

                     The October 18, 2021 Submission, as amended by the March 18, 2022 Submission, does

           not propose any changes to the NSA, CIA, or NCTC querying procedures from those approved

           by the Court in connection with the 2020 Certifications. See October 18, 2021 Memorandum at

           2 n.2; March 18, 2022 M emorandum at 2-3. Nothing detracts from the Court's earlier findings

           that these procedures as written are sufficient. Additional changes to the FBI Querying

          Procedures, NSA Minimization Procedures, and CIA Minimization Procedures are discussed in

          the following sections.

                    D.        FBI Oueryin& Procedures

                    The FBI Querying Procedures include new provisions adopted to address a pattern of

          broad, suspicionless queries that are not reasonably likely to retrieve foreign intelligence



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           information or evidence of crime. In order to evaluate those provisions, it is necessary to

           understand the historical pattern of non-compliant queries conducted by the FBI.

                              1.           Background and Compliance History

                    The FISC first approved a separate set of FBI querying procedures in 2019. See Docket

          Nos.                                 em. Op. and Order at 16-17 (Sept. 4, 2019) ("September 4, 2019

          Opinion"). Previously, the standard for FBI queries of Section 702 information appeared in

          FBI's minimization procedures, and provided that: ''To the extent reasonably feasible," FBI

          personnel "must design" queries of unminimized Section 702 information "to find and extract

          foreign intelligence information or evidence of a crime." See October 18, 2018 Opinion at 67.

          The government represented that this querying standard was practically equivalent to the one for

          queries of raw information acquired under Titles I and ill of FISA. It characterized that standard

          as

                    a high one, having three elements: (1) a query cannot be "overly broad," but rather
                    must be designed to extract foreign-intelligence information or evidence of crime;
                    (2) it must "have an authorized purpose" and not be run for personal or improper
                    reasons; and (3) there must be "a reasonable basis to expect [it] will return foreign
                    intelligence information or evidence of crime."

          Id. But the FBI querying procedures now in effect do not expressly include these three elements.

          Rather, they provide that FBI queries of "unminimized contents or non-contents (including

          metadata) acquired pursuant to Section 702 ... must be reasonably likely to retrieve foreign

          intelligence information, as defined by FISA, or evidence of a crime, unless otherwise

          specifically excepted." 2020 FBI Querying Procedures§ IV.A.1.



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                    The FBI frequently violated the three-part standard articulated by the government. In

           October 2018, the Court concluded that "the FBI's repeated non-compliant queries of Section

           702 information" precluded findings that its Section 702 querying and minimization procedures,

           as implemented, satisfied the definition of"minimization procedures" at 50 U.S .C. § 180l(h) and

           were reasonable under the Fourth Amendment. October 18, 2018 Opinion at 62 . The Court

           cited as a contributing factor in FBI's non-compliance a "lack of a common understanding within

           FBI and [the National Security Division of the U.S. Department of Justice (NSD)] of what it

           means for a query to be reasonably likely to return foreign-intelligence information or evidence

           of crime." Id. at 77. The Court expected that a requirement to document the basis for believing

           that a query using a U .S.-person query term satisfied the querying standard would help ensure

           that the FBI personnel recalled and thoughtfully applied the standard before reviewing

           unminimized Section 702-acquired contents retrieved by using U .S.-person query terms. See id.

           at 92-93; see also id. at 96 ("The Court contemplates a brief statement of the query justification

          -    in many cases it should suffice to succinctly complete a sentence that starts 'This query is

          reasonably likely to return foreign-intelligence information [ or evidence of crime] because

           .... "'). The Foreign Intelligence Surveillance Court of Review (FISCR) anticipated that such a

          documentation requirement could have similar "potential benefits," though it stopped short of

          requiring the government to adopt that particular measure. In re DNJ/AG 702(h) Certifications,

          941 F.3d, 547, 565 (FISCR 2019) (per curiam).




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                     Eventually, after the FISCR affirmed the FISC's decision in part, see 941 F.3d at 566, the

           government revised these procedures to require FBI personnel to provide "a written statement of

           facts showing that the query was reasonably likely to retrieve foreign intelligence information or

           evidence of a crime" before reviewing the unminimized contents of Section 702-acquired

           information retrieved using a U.S.-person query term, except when a FISC order is required by

           Section 702(t)(2).4 FBI Querying Procedures §§ IV.A.3, IV.B.4; September 4, 2019 Opinion at

           8-9; Docket Nos.                            em Op. and Order at 62 (Dec. 6, 2019) ("December 6,

           2019 Opinion"). But the primary means of implementing this requirement was for FBI personnel

           to select from a pre-set menu of broad, categorical justifications, instead of drafting a case-

           specific explanation of why a particular query meets the standard. See November 18, 2020

           Opinion at 44-47.




                     4
                    Section 702(f)(2) requires the FBI to obtain approval from the FISC before accessing
           the contents of communications acquired under Section 702 under the following circumstances:

                     (I) such contents "were retrieved pursuant to a query made using a United States person
                     query term,"

                    (2) the query ''was not designed to find and extract foreign intelligence information" and

                    (3) the query was conducted "in connection with a predicated criminal investigation .. .
                    that does not relate to the national security of the United States,"

                    (4) unless " there is a reasonable belief that such contents could assist in mitigating or
                    eliminating a threat to life or serious bodily harm."

           § 702(t)(2)(A), (E) .

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                     In November 2020, the Court found "that the FBI's failure to properly apply its querying

           standard . .. was more pervasive than was previously believed," but noted that most of those

           queries "occurred prior to the implementation of the FBI's system changes and training"

           regarding the documentation requirement. See id. at 39, 41. "In addition, the COVID-19

           pandemic severely limited the government's ability to monitor the FBI's compliance" after those

           systems changes and training had occurred. Id. at 41 . Under those "unique circumstances," the

           Court concluded that the improper queries did not undermine its prior determination that the

           FBI's procedures, with implementation of the documentation requirement, met statutory and

           Fourth Amendment requirements. Id.

                     Nonetheless, the government continued to report significant querying violations. On

           September 2, 2021, the Court issued an order that questioned the effectiveness of the

          documentation process in view of a recent series of non-compliant FBI queries. See Querying

           Violations Order at 5. The Order focused on an apparent continued lack of a common

          understanding of how to apply the querying standard, as evidenced by queries that NSD found to

          have violated that standard, but that the FBI - sometimes at the management level - insisted were

          proper. Specifically: 5

                    •         Between late 2016 and early 2020, the FBI's                   egularly queried
                              unminimized FISA information using ideoti 1ers o m 1v1 ua s 1sted in local


                    5 Many of the examples in this discussion involve queries of information acquired under

          provisions ofFISA other than Section 702; however, as noted above, the government contends
          that the standard for the FBI to query raw Section 702 information is essentially the same as for
          queries of other categories of FISA information. Confusion or disagreement about what the
          standard requires is therefore unlikely to be limited to one such category.

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                               police homicide reports, including victims, next-of-kin, witnesses, and suspects.
                               Supplemental notice of compliance incidents regarding the FBI's querying of raw
                               FISA-acquired information at 1, 5-7 (May 21, 2021) ("May 21, 2021 Notice").
                               NSD found these queries to have violated the querying standard because there was
                               no reasonable basis to expect they would return foreign intelligence or evidence of
                               crime. Id. at 5. The FBI, however, maintained that querying FISA information
                               using identifiers of the victims - simply because they were homicide victims -
                               was reasonably likely to retrieve evidence of crime. See id. at 6; Notice of
                               compliance incident regarding the FBI's querying of raw PISA-acquired
                               information, including information acquired pursuant to Section 702 ofFISA at 4-
                               5 (May 28, 2021) ("May 28, 2021 Notice").

                     •                                   ran a batch query of unminimized FISA information in
                               June 2020, using identifiers of 133 individuals arrested "in connection with civil
                               unrest and protests between approximately May 30, and June 18, 2020." The
                               query was run to determine whether the FBI had "any counter-terrorism
                               derogatory information on the arrestees," but without "any specific potential
                               connections to terrorist related activity" known to those who conducted the
                               queries. Preliminary Notice of compliance incidents regarding the FBI's querying
                               of raw FISA-acquired information at 2 {April 26, 2021) ("April 26, 2021 Notice").
                               NSD assessed that the queries were not reasonably likely to retrieve foreign
                               intelligence information or evidence of a crime. May 21, 2021 Notice at 8. The
                               FBI, however, asserted that those queries were reasonably likely to retrieve
                               evidence of a crime simply because they pertained to persons who bad been
                               arrested and therefore reasonably believed to have committed an offense. Id. The
                               FBI further maintained that there was a "reasonable basis to believe these queries
                               would return foreign intelligence" because                nfonnation not relied
                               u on b the person who ran the ueries, that suggested that
                                         of a foreign powe                            ehalf o
                                       rganization 'protesting                         violence against
                               African-Americans to various U.S. persons." Id. at 8-9.

                     •         During June 11-15, 2020
                               unminimized FISA info


                                                   ay 21 , 2021 Notice at 3-4. The FBI regard
                              as potentta sources, and the analyst ran the queries to check for derogatory
                              information without having reason to suspect that any would be found. Id. at 3.
                              NSD concluded that these queries "were not reasonably likely to retrieve foreign



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                               intelligence information or evide          ·



                     The government reported further querying violations a                                  and

           elsewhere. Since the Court issued the Querying Violations Order, the government has reported

           additional, significant violations of the querying standard, including several relating to the

           January 6, 2021 breach of the U.S. Capitol:

                     •        An analyst                                        an 13 queries of individuals
                              suspected of involvement in the January 6, 2021 Capitol breach. The analyst said
                              she ran the queries to determine whether these individuals had foreign ties, and
                              indicated she had run "thousands of names within FBI systems in relation to the
                              Capitol breach investigation" and did not remember why she ran these 13 queries
                              on raw FISA information. NSD concluded the queries were not reasonably likely
                              to retrieve foreign intelligence information or evidence of crime. Notice of
                              compliance incident regarding the FBl's querying of raw FISA-acquired
                              information, including information acquired pursuant to Section 702 of FISA at 3
                              (Dec. 1, 2021) ("December I, 2021 Notice").

                     •                         fficer ran two queries for a person under investigation for
                              assaulting a federal officer in connection with the Capitol breach. The officer
                              could not recall why he queried raw FISA information, but FBI field office
                              personnel participating in the query audit stated that the FBI viewed "the situation
                              in general" at the time of the queries as a threat to national security. NSD



                    6
                     See, e.g., April 26, 2021 Notice at 2 (May 2020 queries "using variations of the names
          of two known political activist groups ... involved in organized protests"); May 21, 2021 Notice
          at 2 - o n d u c t e d during January-June 2020 using identifiers for persons scheduled to
          visi                  ; id. at 3 (June 2020 queries using identifiers for at least 790 cleared defense
          contrac ors om whom the FBI might re uest coo eration · id. at 4-5 (330 queries conducted in
          June 2020 using identifiers of employees                                   horn the FBI might want to
          recruit as sources). The foregoing queries ran against unmm1m12e information acquired under
          Titles I, ill, and V of FISA. Id. at 1; April 26, 2021 Notice at 1. During July-August 2020,
          additional queries regarding v i s i t o r s - e r e run against Section 702-acquired
          information. May 28, 2021 Notice a - .

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                               assessed that these queries were not reasonably likely to retrieve foreign
                               intelligence information or evidence of crime. Id. at 3-4.

                     •                                                         nducted 360 queries in
                               connection w1t omesttc         g an gan-nvesti  ations, domestic terrorism
                               investigations, and the Capito] breach.           rovided no information to
                               support a reasonable basis to believe ore1gn m e igence information or evidence
                               of a crime would likely be returned. NSD assessed the queries did not meet the
                               querying standard. Id. at 5-6.

                     •                                                    n five queries of individuals invoJved in
                               t e Capito   reac a er emg mstructe to provide a "full workup on terms
                              related to Capitol Breach leads to verify whether individuals involved ... were
                              acting at the direction of a foreign power or a member of a foreign terrorist
                              organization." Id. at 4. NSD assessed that the queries were not reasonably likely
                              to retrieve foreign intelligence information or evidence of a crime from FISA
                              information. Id.

                     •                                        onducted three batch queries consisting of


                                                                                  was emg use y a group
                              involved in the January 6 Capitol breach. The queries were run against
                              unminimized Section 702 information to find evidence of possible foreign
                              influence, although the analyst conducting the queries had no indications of
                              foreign influence related to the query terms used. NSD assessed there was no
                              specific factual basis to believe the queries were reasonably likely to retrieve
                              foreign intelligence information or evidence of crime from Section 702
                              information. No raw Section 702 information was accessed as a result of these
                              queries. Notice of compliance incidents regarding the FBI's querying of raw
                              FISA-acquired information, including information acquired pursuant to Section
                              702 ofFISA at 6 (Dec. 30, 2021) ("December 30, 2021 Notice").

                    •                                       onducted a batch query for over 19,000 donors to a
                              congressional campaign. The analyst who ran the query advised that the
                              campaign was a target of foreign influence, but NSD determined that only eight
                              identifiers used in the query had sufficient ties to foreign influence activities to
                              comply with the querying standard. See Notice of Compliance incidents regarding
                              the FBI's querying ofraw FISA-acquired information, including information
                              acquired pursuant to Section 702 of FISA at 2 (Oct. 18, 2021 ).


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                     The FBl's Office of Internal Auditing (OIA) has uncovered similar querying violations.

           The FBI established OIA in 2020 at the direction of the AG to augment internal compliance

           functions regarding national security matters. See Memorandum from the Attorney General re:

           Augmenting the Internal Compliance Functions of the FBI, August 31, 2020; Preliminary notice

           of compliance incidents regarding the FBI's querying of raw PISA-acquired information,

           including information acquired pursuant to Section 702 ofFISA at 1 (Oct. 29, 2021) ("October

           29, 2021 Notice''). In May 2021 , OIA undertook an enterprise-wide audit ofFISA queries in the

                                                                                                             OIA's

           audit examined more than 2,000 queries conducted between April 1, 2020, and March 31 , 2021 ,

           against raw FISA data, including Section 702 information. 8 FBI Deel. fi led with the Gov't

           Submission in Response to the Court's Order in Response to Querying Violations at ,i 15 (Nov.

          3, 2021 ) ("FBI Deel. Nov. 3, 2021"); Government's Submission in Response to the Court's

          Questions Regarding FBI Queries at 10 (Jan. 19, 2022) ("Gov't Resp. Jan. 19, 2022"). Based on

          an initial review of OIA's findings, NSD concluded that 286 queries were non-compliant.




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                                 lectronic and data storage system that contains raw FISA-acquired
          information, me u mg information acquired pursuant to Titles I, ill, V, and VII ofFISA." FBI
          Deel. filed with the Gov't Submiss· ·             se to the Court's Order in Response to Querying
          Violations at 7 n.2 (Jan. 19, 2022).              ystem that stores data from multiple FBI
          datasets, including raw FISA-acquire m ormat1on acquired P.Ursuant to Titles I, ID, V, and VII
          of FISA, which allows users to query across various datasets - h r o u g h a single
          sign-on and perform in-depth searches." Id. at 8 n.3. Section~ n Title VII.
                    8
                    These queries preceded modifications         that became effective on June 29, 2021 ,
          so that they ran against raw FISA-acquired information by default unless the user affirmatively
          excluded such information from a query. See pages 37-38 infra.

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                                              'f0P St:lCRl!l'fWSf/fN0FOR:NfFISA
           October 29, 2021 Notice at 2.9 Those instances included additional queries for persons arrested

           at or associated with civil unrest and protests or suspected of involvement in the January 6, 202 I

           Capitol breach. When FBI personnel conducted these queries, they were not aware of any

           potential connections between the query subjects and terrorist or other national security threats.

           Id. at 4. Several of these queries ran against Section 702-acquired information. Id. at 5. 10

                     Based on OIA's audit and NSD's follow-on examination, the government reported in

           excess of 278,000 non-compliant FBI queries of raw PISA-acquired information. Notice of

           compliance incidents regarding the FBI's querying of raw PISA-acquired information, including

           infonnation acquired pursuant to Section 702 at 2 (Mar. 11 , 2022) ("March 11 , 2022 OIA

           Update"). With regard to queries of Section 702 information particularly, the Court notes the

          volume of non-compliant batch queries. For example:

                    •         Three queries run b                                    two of which related to
                                                                                     of which originated from
                                                                       here was no specific factual basis to
                                                                       r evidence of a crime would be
                              retrieved. See id. at 9.

                    •         122 queries run b                                           sing telephone
                              numbers collected through legal process in a predicated domestic terrorism
                              investigation, which NSD assessed to be not reasonably likely to return foreign
                              intelligence information or evidence of a crime. Id. at 10.



                    9
                  NSD is investigating whether certain of those queries were subject to the FISC order
          requirement of § 702(f)(2). Id.
                    10
                    NSD continues to investigate whether such queries retrieved Section 702-acquired
          information that triggered the requirement to obtain a FISC order under § 702(f)(2) or fell within
          the Court's reporting requirement (discussed at pages 44-46 infra) for certain evidence-of-crime
          only queries.


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                     •         '•    •     ·■-   • • - ..... -   • • • • -.     ared defense contractor
                                                                                -   •
                                                                                 SD determined these quenes were
                               not reasonably likely to return foreign intelligence information or evidence of a
                               crime because there was no specific information indicating that the named
                               companies were being targeted by foreign adversaries. Id. at 8.

                     •




                               information did not provide a specific factual basis to believe that foreign
                               intelligence information or evidence of a crime was reasonably likely to be
                               returned. Id. at 22-23.




                                                                              Id. at 22. For 72 such queries, NSD

           concluded that the FBI analysts who conducted them ''were not aware of why any specific

          individual                        as flagged                        Id. NSD found

          of itself, to be insufficient to satisfy the querying standard and has advise

                                ueries of raw FISA-acquired information "should be conducted only where there

          is an additional, specific factual basis to believe that the terms queried are reasonably likely to

          retrieve foreign intelligence information or evidence of a crime." Id.


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                     Across the FBI, the government has reported queries of raw FISA-acquired information

           as ''part of routine baseline checks in order to determine whether there was any information

           regarding the subject [of the query] in FBI holdings," without a specific factual basis to believe

           the query was reasonably likely to return foreign intelligence information or evidence of crime.

           See, e.g., id. at 16-21, 23 (examples include U.S. persons suspected of corresponding with

           subj ects of FBI domestic terrorism investigations, or suspected of involvement in domestic

           terrorism; a person in possession of chemicals used to make explosives; persons who were

           suspected of being racially-motivated violent extremists or who posted racially-motivated violent

           materials on social media; a person suspected of purchasing a device to make a rifle fully

           automatic; and subjects of a drug-trafficking case). NSD is continuing to investigate whether any

           such U.S.-person queries returned raw Section 702 content information that was accessed by the

           user. Id. at I 7, 20 n.21.

                     Finally, the government has recently reported violations of Section 702(f)(2), which also

           relate to the January 6 breach of the Capitol. Specifically:

                     •        On June 11 , 2021, the FBI queried unminimized Section 702-acquired
                              information using the name of someone then believed to have been present at the
                              breaching of the Capitol and who was the subject of an open predicated criminal
                              investigation relating to that event. FBI personnel accessed contents information
                              retrieved by the query without obtaining a FISC order under § 702(f)(2). The
                              retrieved information was not used for any analytical, investigative or evidentiary
                              purpose. See Quarterly Report Regarding Bulk Queries Conducted Within the
                              F B I ' - d Notice of Compliance Incident Regarding the FBI's Querying of
                              Raw ec 10n 02-Acquired Information to Retrieve Evidence of a Crime at 4 (Oct.
                              29, 2021) ("Fourth Quarterly Bulk Query Report").

                    •         On January 17, 2021 , an analyst conducted a query using an identifier for a
                              presumed U.S. person thought to have been present at the January 6 Capitol


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                               breach. The analyst reviewed the contents of an email retrieved by the query, but
                               determined it was not pertinent and made no analytical, investigative or
                               evidentiary use of it. The query was conducted in response to a lead sent by
                               another field office, which had a predicated criminal investigation of a different
                               person's involvement in the Capitol breach. See Update to the Government's
                               March 2021 Report Concerning Section 702 Compliance Matters and Notice of
                               Compliance Incident Regarding the FBI's Querying of Raw Section 702-Acquired
                               Information to Retrieve Evidence of a Crime at 4 (Nov. 19, 2021). On the facts
                               provided, this query also appears to have violated the "reasonably likely to
                               retrieve" standard.

                     •        Similar circumstances were reported for two other queries conducted in response
                              to a lead sent by a field office that had a predicated criminal investigation opened
                              relating to the breach of the U.S. Capitol. Those queries returned Section 702-
                              acquired contents, which were accessed but not used for any further analytical,
                              investigative or evidentiary purpose. NSD assessed that these queries were not
                              designed to find and extract foreign intelligence information, although each
                              person running the queries believed that the U.S. Capitol breach implicated
                              national security, and the field office that sent the leads also had a separate
                              predicated investigation concerning possible foreign malign influence of the
                              Capitol breach. See Update to the Government's September 2021 Report
                              Concerning Section 702 Compliance Matters and Notice of Compliance Incidents
                              at 4-5 n.4 (Mar. 11, 2022) ("March 11, 2022 OJA Update"). 11

                               2.          Steps to Address Non-Compliant Queries

                    The government seeks to improve FBI querying practices by revising the FBI's querying

           procedures, modifying its systems, providing revised and expanded guidance on the querying

           standard, augmenting training, and increasing auditing and oversight efforts. See Government's




                     11
                     On April 19, 2022, NSD reported a Section 702(t)(2) violation a
                      elated to the January 6 Capitol breach. NSD has not yet advised whether any use was
           made of the information improperly accessed. See Second Supplemental Notice of compliance
           incidents regarding the FBI's query of raw FISA-acquired information, including information
           acquired pursuant to Section 702 at 2-4 (Apr. 19, 2022).

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           Submission in response to Court's Order in response to Querying Violations (Nov. 3, 2021);

           March 11, 2022 OIA Update at 23.

                                           a.   Revisions to Procedures

                     Section N.A.1 of the FBI Querying Procedures reads as follows:

                    Each query of FBI systems containing unminimized contents or noncontents
                    (including metadata) acquired pursuant to section 702 of the Act must be
                    reasonably likely to retrieve foreign intelligence information, as defined by PISA,
                    or evidence of a crime, unless otherwise specifically excepted in these procedures.
                    In order to meet this standard:

                               (a) the person conducting the query must have the purpose of retrieving
                              foreign intelligence ieformation or evidence ofa crime;

                              (b) the person conducting the query must have a specific factual basis to
                              believe that it is reasonably likely to retn·eve foreign intelligence
                              ieformation or evidence ofa crime; and

                              (c) the query must be reasonably tailored to retrieve foreign intelligence
                              ieformation or evidence of a crime without unnecessarily retrieving other
                              information.

          The italicized text is new and codifies what NSD has previously represented to be the correct

          understanding of the "reasonably likely to retrieve" standard. In view of apparent disagreement

          and confusion regarding how to apply this standard, it is constructive for the procedures to lay

          out explicitly what it requires. The General Counsel of the FBI avers that the FBI ''understands

          the concerns expressed by the Court" in the Querying Violations Order, "now agrees that the

          identified queries ... do not meet the querying standard," and "is committed to ensuring that

          [those] concerns ... are addressed." See FBI Deel. Nov. 3, 202114.




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                    In addition, Section IV.A.3 of the FBI Querying Procedures now requires (with new text

           in italics):

                    Prior to reviewing or accessing the unminimized contents of section 702 acquired
                    information retrieved using a United States person query term, FBI personnel wiJJ
                    provide a written statement of the specific factual basis to believe that the query
                    was reasonably likely to retrieve foreign intelligence information or evidence of a
                    crime.

           The "specific factual basis" language responds to the Court's concerns regarding the efficacy of

           the FBI's previous reliance on users' selecting from a limited menu of broad justifications.

                    With these revisions, there are no real concerns about whether, as written, the querying

           provisions of the FBI's procedures comport with statutory minimization and Fourth Amendment

           requirements. The real concerns have always centered on the querying provisions as likely to be

           implemented by the FBI, in view of the repeated querying violations. The government's further

           steps to improve implementation are addressed below.

                                           b.   Systems Modifications

                    The FBI reported it had modified its systems to require personnel to record the specific

           factual basis for a query using a U.S .-person query tenn before accessing contents information

           retrieved by such a query. See Gov't Resp. Jan. 19, 2022 at 34; FBI Deel. Nov. 3, 2021110.

                                                                                                 2
          This change was implemented in                 s of October 28, 2021, and in               as of November



                    '
                        2
                            111111111
                                 repository of intercepted Internet data traffic and other )_awfully collected
          infonnation - concerning activities that oc               ted computing or communications
          devices." FBI Deel. Jan. 14, 2022 at 10 n.4.             access control o l i c y - s s for
          running queries are different than the policies use                           In            user has
          access only to his/her own cases and must select the data to be searched prior to running a
                                                                                                   (continued... )

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           4, 2021. See FBI Dec]. Nov. 3, 2021 11 10 n.5 . On February 10, 2022, Court staff requested

           clarification regarding whether           required users to provide a case-specific justification for

           queries they identified as evidence-of-crime-only queries, that is, queries designed to return

           evidence of crime, but not foreign intelligence information. The government advised tha

           had not been changed to require a case-specific justification for evidence-of-crime-only queries,

           but that the FBI would modi               y the end of March 2022 to require users to enter a free-

           text, case-specific justification for such queries before they can access or review raw contents

           information returned by using a U.S.-person query term. See Response to the Court's February

           10, 2022 Request for Additional Information Regarding FBI Queries at 3-4 (Mar. 1, 2022)

           ("Gov't Resp. Mar. I, 2022"). Effective March 31 , 2021                 ill not permit a user to access

           any material retrieved by a query identified as a U.S.-person evidence-of-crime (EOC) only query

           unless the user completes the fol1owing sentence: "This query is reasonably likely to retrieve

           EOC because . . . ." Supplemental Response to the Court's February 10, 2022 Questions

           Regarding FBI Queries at 2 (Apr. 12, 2022).

                    The FBI has also changed the default settings of systems used to query Section 702

           information in an effort to facilitate compliance:

                    •         Effective June 29, 2021, the FBI modified             e "federated system .. . on
                              which the vast majority of FBI queries ofunmm1mized FISA-acquired
                              information occur" - so that users "have to make an intentional decision to opt-in
                              to running a query'' of unminimized PISA information. FBI Deel. Nov. 3, 2021 11
                              7; Gov't Resp. Nov. 3, 2021 at l 0; Letter regarding FBI programmatic


                    12
                  ( ••• continued)
          query." FBI Deel. Nov. 3, 2021 11 9 n.3.

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                               enhancements to facilitate compliance with applicable requirements regarding
                               queries ofFISA-acquired information at 2 (July 26, 2021) ("July 26, 2021
                               Letter"). Previously~ueries searched unminimized FISA information by
                               default, which resulted in a number of non-compliant queries in which a user had
                               not even meant to search FlSA information.
                     •         The FBl has also reconfigure          o that it no longer-series against raw
                               Section 702 information by de au . As of August 2021           sers must
                               affirmatively chose to run a query against such information. Gov't Resp. Nov. 3,
                               2021 at 27. 13

                     •         The FBl has further reconfigure           o that it no longer defaults to a negative
                               answer in response to the question w e er the user is conducting an "evidence-
                               of-crime-only" query. Gov't Resp. Nov. 3, 2021 at 26-27; FBI Deel. Nov. 3, 2021
                               ,r 9. 14 Users now must affirmatively indicate whether or not a query using a U.S.-
                               person query term was conducted to retrieve only evidence of a crime before they
                               may access and review information returned. Gov't Resp. Jan. 19, 2022 at 36-38.
                               NSD assesses that the previous default presented a compliance risk that users
                               would not affirmatively identify queries conducted solely to retrieve evidence of
                               crime, which are responsive to FISC-ordered reporting obligations discussed at
                               pages 44-46 infra and potentially subject to§ 702(f)(2)'s requirement to obtain a
                               FISC order before accessing contents retrieved by a query. Gov't Resp. Nov. 3,
                               2021 at 26.

                     When a query is identified as for evidence-of-crime-only, the user must choose from

           among four options: "Query not connected to a predicated criminal investigation;" "FISC Order

           pursuant to 702(f)(2) has been obtained;" "FISC Order Exception (only for threat to human life

           or serious bodily harm);" or "none of the above." See FBI Deel. Jan. 14, 2022 ,r 16. If "none of


                     13
                    The FBI a]so added a pop-up window t •                                     to alert users when a
           query will run against unminimized FISA-acquir t I                t             q nng them to affinn that
           they understand the querying standard. FBI Deel. Nov. 3, 2021 ,i 9.
                     14
                   -stores data from multiple FBI datasets, including                       sers with
          -ccounts can access raw section 702-acquired informati~n
          Gov't Resp. Jan. 19, 2022 at 32 n.12. "When running-·- i n c u mg t oug t e
          batch query tool, the user is automatically redirected t   prior to gaining access to any raw
          FISA Section 702-acquired contents." FBI Deel. Jan. 14, 20221114-15.

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            the above" is selected, the user is prevented from accessing contents returned by the query, in

            furtherance of the restrictions imposed by§ 702(t)(2). Id.; Gov't Resp. Jan. 19, 2022 at 36.

                     Finally, as of June 202            equires users to state that they have received approval

           from an FBI attorney to perform a "batch job" that includes I 00 or more queries; in emergency

           circumstances, however, attorney approval may be sought after a query is conducted. Gov' t

           Resp. Nov. 3, 2021 at 10-11; FBI Deel. Nov. 3, 2021 ,i 11.

                     NSD acknowledges that one system                                'does not currently comport

           with" the FBI's querying procedures because it lacks the capability to record U.S.-person queries

           and document the justification for them. Gov't Resp. Nov. 3, 2021 at 24. It directs users to

           create the required documentation on a separate SharePoint site, but there is a "systemic

           compliance issue involving the failure" to do so. Id. at 23-24. The FBI is in the process of

           terminating the transmittal of Section 702 information                         estricting access to

           Section 702 information currently on that system, and ultimately removing all such information

           from it. Id. at 24. As of October 27, 2021, access to unminimized Section 702-acquired

           information i                       as restricted. FBI Deel. Jan. 14, 2022 ,i 13. As of March 4, 2022,

           the FBI had removed all such information from this system. Supplemental response to the

           Government's Nov. 3, 2021 and Jan. 19, 2022 filings regarding FBI Queries at 2 (Apr. 18, 2022).

                     Although the benefits of articulating case-specific justifications are not yet proven, this

           requirement, combined with the other described system changes, should reduce the number of

           non-compliant queries. These records of why FBI personnel thought that a query was reasonably




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           likely to retrieve foreign intelligence information or evidence of a crime should also provide

           useful information to infonn training and oversight efforts, as discussed below.

                     In addition, requiring users to affirmatively choose to run a query against raw FISA

           infonnation should eliminate non-compliance stemming from inadvertent querying of such

           information. There are preliminary indications that these systems changes are resulting in

           substantial reductions in the number ofU.S.-person queries ofraw Section 702 information. The

           government reported a total of approximately 79,848 U.S.-person and presumed U.S.-person

           queries of unminimized Section 702 information conducted by the FBI during September-

           November 2021 . See Quarterly Report Concerning Compliance Matters Under Section 702 at

           106 n.93 (March 18, 2022) ("March 2022 QRH) 15 (correcting totals reported in four prior

          quarterly reports); December 2021 QR at 115- 16. That is roughly half the number conducted in

           the three months prior (i. e., 159,634 during June-August 2021) and represents a precipitous

          decline from the over one million such queries reported for the March-May 2021 period and the

          over two million reported for the prior three months. See March 2022 QR at 106 n.93. The only

          apparent explanation for that decline is the modifications t            s of June 29, 2021 , and to

                   as of August 26, 2021, that require users to affirmatively elect to run searches against

          unminimized Section 702 information. Such a reduction in overall queries should, in and of

          itself, result in many fewer violations. See FBI Deel. Nov. 3, 2021 ,Mi 7-9; Gov't Resp. Nov. 3,

          2021 at 10.


                    15
                  Similarly titled quarterly reports on Section 702 compliance issues are cited in the form
          "[month of filing] QR."

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                     Finally, eliminating the default recording of queries as not designed solely to retrieve

           evidence of a crime should result in more accurate reporting and foster compliance with §

           702(f)(2). But accurate categorization will still depend on the determinations of individual users,

           and therefore on the effectiveness of the guidance and training they receive. The Court intends to

           continue to closely monitor U.S.-person queries conducted for evidence-of-crime-only

           purposes. 16

                                           c.   Augmented Training and Oversight

                     At the direction of the Deputy Attorney General and in consultation with the Office of the

           DNI (ODNJ), NSD developed a "guidance document" on the querying standard for FBI

           personnel. Gov't Resp. Nov. 3, 2021 at 11. In addition to addressing the three-part querying

           standard, this document helpfully instructs that a query must be reasonably likely to retrieve

           foreign intelligence information or evidence of a crime from the FISA collection being queried;

           that in a batch query "each and every identifier queried must independently satisfy the querying



                     16
                          In order to trigger § 702(f)(2)'s requirement to obtain a FISC order, "a query ... using
          a United States person query term" must "not [be] designed to find and extract foreign
          intelligence information." § 702(f)(2)(A); see also § 702(f)(2)(F)(ii) (nothing in§ 702(f)(2)
          "may be construed as . .. limiting the authority of the [FBI] to review, without a court order, the
          results of any query . .. that w as reasonably designed to find and extract foreign intelligence
          information"). In evaluating whether a query was designed to fmd and extract foreign
          intelligence information under § 702(f)(2)(A), the government regards "the subjective purpose of
          the FBI user conducting the query" as "an important factor" that may, or may not, be dispositive.
          Gov't Resp. Jan. 19, 2022 at 20. The government also sees "objective facts and circumstances,"
          such as "the type of investigation" and "how the information retrieved from the query may be
          related to the investigative activities of other FBI squads or personnel," as potentially relevant.
          Id. The Court does not need to parse these issues in order to make the findings required to
          approve the FBI's procedures in this proceeding. They can be addressed, to the extent necessary,
          in concrete cases involving implementation of, or compliance with, § 702(f)(2).

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           standard;" and that queries to vet subjects "to determine ifthere is derogatory information about

           them in FBI holdings" are likely to lack a "specific factual basis ... to believe [they are]

           reasonably likely to retrieve foreign intelligence information or evidence of a crime from raw

           FISA collection." See Transmittal of Query Guidance, Tab A ("FBI FISA Query Guidance") at

           1-3, 6 (Dec. 3, 2021 ). It also provides examples of non-compliant queries based on actual

           violations. See id. at 13 (queries on visitors to a military facility without additional justifying

           information); 13-14 (queries on persons arrested "in connection with unrest and protests" to

          determine whether the FBI had "derogatory information" regarding them that "related to

          counterterrorism or malign foreign influence"). It also makes clear that, in NSD's estimation,

          contact with a suspected international terroris                              likely satisfies the

          querying standard, absent particular reason to believe that the contact is innocent. See id. at 2-3,

           10.

                    The FBI is conducting additional training based on this document with a focus on

          querying requirements and the systems changes discussed above. Gov't Resp. Nov. 3, 2021 at

           12. On January 7, 2022, FBI executive management transmitted NSD's guidance document to

          all FBI personnel who have access to raw PISA information and instructed them to complete the

          new mandatory training by January 25, 2022. See Additional Update on Querying Training for

          FBI Users with Access to Unminimized PISA-acquired information at 2 (Feb. l 0, 2022). The

          FBI has reported a 97.5% completion rate as of February 8, 2022, for personnel required to take

          this training. Id. at 3. System access was revoked for users who did not complete it. Id. The




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           FBI also plans to conduct computer-based interactive training, with a pass/fail test, on an annual

           basis. FBI Deel. Nov. 3, 2021 fl 6, 13.

                     The FBI also plans to conduct a trends analysis on an ongoing basis "by reviewing the

           results of NSD query audits and FBI internal query audits to determine if additional training,

           guidance, or system changes are needed to ensure compliance with the querying standard." Id.

           ,i 16. OJA plans to perfonn additional enterprise-wide query audits in 2022 and early 2023.

           Docket N                           eel. of Mark J. Gerber, Assistant Director, FBI, in Support of the

           Government's Supplemental Response to the Court's Order Dated Dec. 17, 2019 and Corrected

           Opinion and Order Dated Mar. 5, 2020; and Partial Response to the Court' s Order Dated Apr. 3,

           2020 at 5 (Apr. 15, 2022). Finally, the Deputy Attorney General recently directed the FBI to

           designate a senior executive in the Office of the Associate Deputy Director for oversight and

           compliance issues, which the FBI expects to accomplish before the end of the year. See Gov't

           Resp. Nov. 3, 2021 at 14-15; FBI Deel. Jan. 14, 2022 ,i 9.

                     After a pandemic-related suspension of onsite reviews, NSD resumed query audits on a

           remote basis in February 2021. Gov't Resp. Nov. 3, 2021 at 14. During these audits, NSD

           discussed and reinforced the querying standard with the FBI personnel being audited. Id. NSD

           has now resumed onsite query reviews, with plans to travel to approximately 18 field offices in

           the first half of 2022. Gov't Resp. Jan. 19, 2022 at 9, 42-45. To assess the effectiveness of

           recent measures, NSD will focus on specific categories, including batch query approvals, queries




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           determined to lack a proper justification, recording queries as conducted solely to retrieve

           evidence of crime, and application of the U.S.-person presumptions. See id. at 42-45. 17

                               3.          Reporting of Evidence-Of-Crime-Only Queries

                     The FISC first imposed a reporting requirement regarding evidence-of-crime-only queries

           in November 2015. See Docket Nos.                                 em. Op. and Order at 78 (Nov. 6,

           2015) (''November 6, 2015 Opinion"). On that occasion, the Court's approval of minimization

           procedures that permitted the FBI to conduct evidence-of-crime-only queries using U.S.-person

           query terms relied in part on the government's assessment that "FBI queries designed to elicit

           evidence of crimes unrelated to foreign intelligence rarely, if ever, produce responsive results"

           from Section 702 information. See id. at 44. The Court imposed the reporting requirement to

           confirm the continued accuracy of that assessment. Id. at 78.

                     Currently, the government must report on a quarterly basis

                     each instance in which FBI personnel accessed unminimized Section 702-acquired
                     contents information that was returned by a query that used a U.S.-person query
                     term and was not designed to find and extract foreign intelligence information.
                     The report should include a detailed description of the information at issue and the
                     manner in which it has been or will be used for analytical, investigative, or


                     17
                     NSD recently reported the results of its audit                                 in which it
          reviewed 138 queries of FISA information conducte
          Notice of compliance incidents regarding querying o raw            -acquired information, including
          information ac uired ursuant to Section 702 of FISA, identified during a NSD review of the
                                     t 1-2 (Mar. 31, 2022). NSD identified 25 non-compliant queries, seven
          o w 1c were m1S1 en Ified as involving U.S.-person query terms. Eight other queries lacked a
          specific factual basis to believe they were reasonably likely to return foreign intelligence
          information or evidence of a crime from FISA datasets. Id. at 2-4. NSD also met with field
          office personnel to discuss the results of the audit and delivered in-person training on the
          querying rules. Id. at 4.

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                     evidentiary purposes. It shall also identify the query terms used to elicit the
                     information and provide the FBI's basis for concluding that the query was
                     consistent with applicable procedures. This report shall also include: 1) the
                     number ofU.S.-Person queries run by the FBI against Section 702-acquired
                     information, and 2) the number of such queries in which the documented
                     justifications indicated an evidence-of-crime-only purpose.

           November 18, 2020 Opinion at 63. Queries for which the government files an application with

           the FISC under§ 702(f)(2) need not be included in this quarterly reporting, id.; however, the

           government has never submitted such an application.

                     In the last three quarterly reports, the number of queries identified by the persons who

           conducted them as solely to return evidence of crime purposes has increased, with 122 queries

           reported for December 2021-February 2022; 88 queries for September-November 2021, and 25

           queries for June-August 2021. See March 2022 QR at 106; December 2021 QR at 116;

           September 2021 QR at 102. This increase may result from the new requirement that users

           affirmatively state whether or not a query is for evidence-of-crime-only purposes. 18 The total

           number of evidence-of-crime-only queries using U.S.-person query terms is likely much higher,

           but only queries that resulted in FBI personnel accessing content information acquired under

           Section 702 are subject to the reporting requirement. See Gov't Resp. Jan. 19, 2022 at 27.



                     The government is still investigating the 122 queries from December 2021-February
                     18

           2022 to determine, for example, whether the user also had a foreign intelligence purpose when
           conducting the query. See March 2022 QR at 106 n.94. For prior reporting periods, such
           investigation has resulted in fewer queries being assessed to have used a U.S.-person query term
           and to have been conducted solely to return evidence of crime. For example, out of the 88
           queries initially reported for September-November 2021, only four were ultimately assessed to
           have fallen within the reporting requirement. See id. at 140-41. The others were assessed to
           have been conducted, at least in part, to return foreign intelligence information, not to have
           involved U.S.-person query terms, or both. See id. at 139-41.

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                     The government has also described an automated process, implemented in September

           2020, that compiles a list of all queries marked as conducted solely to retrieve evidence of a

           crime for which responsive Section 702-acquired information is accessed or reviewed. See FBI

           Deel. Jan. 14, 2022 at 7-9. Each day, this list (called a "Search Audit Report") is emailed to an

           FBI attorney for evaluation. Id. at 8. This process is used to identify potential violations of§

           702(f)(2) and has reportedly given the FBI "the ability to identify and review all queries marked

           [as U.S.-person, evidence-of-crime-only] queries to satisfy the Court's reporting requirements."

           Id. at 8-9. It also appears to be a potentially useful tool for early detection of compliance

           problems and to facilitate close-in-time remedial training when appropriate, though it is "only

           effective if users know when to identify their queries" as evidence-of-crime-only. See Gov't

           Resp. Jan. 19, 2022 at 39-40.

                    The Court is cautiously optimistic that system changes, together with augmented training

           and continued auditing, will result in more accurate reporting. The Court carries forward these

           reporting requirements, with modifications to reflect the government's explanation of the FBI's

           process to document evidence-of-crime-only queries. See pages 123-24 infra.

                              4.           Recordkeeping Reguirements for U.S.-Person Query Terms

                    Section 702(f)(l )(b) requires that a record be kept of each U.S.-person query term used

           for a query. Implementation of§ 702(f)(2) and reporting regarding evidence-of-crime-only

           queries also require the FBI to accurately record use ofU.S.-person query terms.

                    The FBI's querying procedures require it to maintain a "record of each United States

          person query term used for a query of unminimized content or noncontent information acquired


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           pursuant to section 702." See FBI Querying Procedures§ IV.B. They also set out presumptions

           for determining whether a person whose status is unknown is a U.S. person, including a

           presumption that someone in the United States is a U.S. person, absent specific indication to the

          contrary. Id. § III.B.

                     A number of reported non-compliant queries have involved failure to accurately report

           use ofU.S.-person query terms. For instance, a review of queries conducted between October 1,

           2020, and March 31 , 2021 , revealed 473 non-compliant queries conducted by eight users; 390 of

          those queries involved U.S.-person query terms that were not identified as such. See Notice of

          compliance incidents regarding the FBI's querying of raw PISA-acquired information, including

          information acquired pursuant to Section 702 ofFISA at 2 (Dec. 1, 2021).

                           onducted 360 queries in support of various criminal matters against Section 702-

          acquired information because it was                practice to run queries in           gainst all

          available infonnation, regardless of whether there was a reasonable basis to believe they would

          likely retrieve foreign intelligence information or evidence of crime. All of those 360 identifiers

          were improperly recorded as non-U.S. person or "other" because their citizenship was not known

                           Id. at 6. NSD requested that          eceive refresher training. Id. Other reported

          incidents have involved failure to record use of U.S.-person query terms, sometimes due to

          misapplication of presumptions regarding U .S.-person status. See id. at 4-7 (97 queries

          conducted in three FBI field offices violated the querying standard; 27 of them involved failure to

          record use of U.S.-person query tenns).




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                                                        isidentified 265 queries between May 2020 and

           February 2021 as not involving U.S.-person query terms. The user told NSD that he always

           recorded queries as not involving U.S.-person query terms even if the facts indicated otherwise,

           e.g., identifiers for local businesses and mosques. The user was retrained the same day he was

           interviewed by NSD. See Notice of compliance incidents regarding FBI querying of raw PISA-

           acquired information, including information acquired pursuant to Section 702 ofFISA at 3 (Oct.

           18, 2021) ("October 18, 2021 Notice"). A different user                  accurately recorded that

           50 queries, conducted between December 2019 and February 2021, did not involve U.S.-person

           query terms. Id. at 4.' 9

                     NSD's review of query logs has identified similar recordkeeping errors in the context of

           batch queries. For example, two batch jobs consisting of approximately 68,183 query terms were

           recorded as pertaining exclusively to non-U.S. persons, even though many pertained to known or

           presumed U.S. persons. See Notice of compliance incidents regarding the FBI's querying of raw

           PISA-acquired information, including information acquired pursuant to Section 702 ofFISA at

           8-9 (Dec. 30, 2021) ("December 30, 2021 Notice"). 20

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                    There are also instances in which - r ms have been misidentified as U.S.-person
          query terms._See, e.g. , id. (80 queries using    roduct numbers); Notice of compliance
          incidents regarding FBI querying of raw FISA-acquired information, including information
          acquired pursuant to Section 702 ofFISA at 3 (Oct. 26, 2021) ( a p · ·tely 49 queries using
          product numbers); October 29, 2021 Notice at 3 (56 queries using        roduct numbers and 68
          queries using FBI case numbers).
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                    See also March 11, 2022 OJA Update at 8-13 nn.10, 11, 13, 15-16 (approximately 76
          non-compliant individual queries that were part of 15 larger batch jobs that were incorrectly
          labeled as containing exclusively non-U.S. person query terms, when these queries should have
                                                                                               (continued...)

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                     When detected, NSD has promptly sought to remediate such errors with training. See,

           e.g., March 11 , 2022 OJA Update at 14-15. NSD's guidance document also provides instructions

           on applying the U.S.-person presumptions in the FBI's querying procedures. Id. at 16. The

           enhanced training undertaken by the FBI and NSD, reinforced by continued oversight reviews,

           should improve understanding of those presumptions.

                     In sum, the Court is encouraged by the amendments to the FBI' s querying procedures and

           the substantial efforts to improve FBI querying practices, including heightened documentation

           requirements, several systems changes, and enhanced guidance, training, and oversight measures.

           There are preliminary indications that some of these measures are having the desired effect.

           Relying on these improvements, the Court finds that the FBI's querying procedures, as likely to

           be implemented in conjunction with its minimization procedures, are consistent with statutory

           minimization requirements. Nonetheless, compliance problems with the FBI's querying of

           Section 702 information have proven to be persistent and widespread. If they are not

           substantially mitigated by these recent measures, it may become necessary to consider other

           responses, such as substantially limiting the number of FBI personnel with access to

           unminimized Section 702 information.




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                     continued)
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          been recorded as using U.S.-person q u e ~ f o n n a t i o n known at the time of the
          query); December 30, 2021 Notice at 4 ~ n d ucted three batch jobs totaling
          22,532 separate queries, consisting of 8,217 unique domain names of known or presumed U.S.
          persons who had been the targets of cyber attacks; the queries were improperly recorded as
          involving non-U. S. person query terms).

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                     E.        NSA and CIA Minimization Procedures

                     A set of equivalent amendments are proposed for provisions of the minimization

           procedures for the NSA and CIA that address technical or linguistic assistance from foreign

           governments. Also for review is a new provision of the NSA's minimization procedures

           pertaining to response to, and remediation of, the improper tasking of selectors.

                               I.          Assistance From Foreign Governments

                     The minimization procedures for CIA and NSA permit those agencies to share

           unminimized Section 702 information with foreign government agencies to obtain technical or

           linguistic assistance required to exploit such information. There are strict limitations on how

           such information is handled: Only foreign government personnel providing the required

           assistance may access the information; they may make no other use or disclosure of the

           information, or keep any permanent record of it; and they are required to return or destroy it once

           the assistance is completed. See CIA Minimization Procedures § 7(c)(3); NSA Minimization

           Procedures § l l(b).

                     In referring to such transmittal to foreign governments, the amendments use the terms

           "disclosure," "disclose," and "disclosed," in place of "dissemination," "disseminate," and

           "disseminated," which are used in the version of these provisions now in effect. Dissemination

           can be a consequential term in the minimization context. Section 180 l (h)(l) requires "specific

           procedures ... that are reasonably designed" to "prohibit the dissemination" of private

           information concerning U.S. persons, "consistent with the need of the United States to obtain,

           produce, and disseminate foreign intelligence information." And Section 1801 (h)(2) requires


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           minimization procedures to prohibit dissemination of private information "in a manner that

           identifies any United States person, unless such person's identity is necessary to understand

           foreign intelligence information or assess its importance" or the information in question is

           foreign intelligence information as defined at Section 1801 (e)( 1).

                     Notwithstanding the prior use of the term, the government contends that transmittal of

           such information is not a "dissemination" because of the above-discussed restrictions on use and

           access and the requirement that foreign government personnel return or destroy it after providing

           the assistance required. October 18, 2021 Memorandum at 12.21 The government also notes that

           the amendments confonn these provisions to similar ones in procedures for FBI and NCTC,

           which use the "disclosure" terminology. Id. (citing Docket Nos.                                 em.Op.

           and Order at 16-18 (Aug. 26, 2014) (discussing a similar FBI provision)). But the corresponding

           provisions for FBI and NCTC concern technical or linguistic assistance from other federal

           agencies, not foreign governments, id. (citing FBI Minimization Procedures§ N.D and NCTC

           Minimization Procedures§ D.5).

                     On the other hand, the change is really one of tenninology rather than substantive effect.

           The procedures currently in effect allow the CIA and NSA to "disseminate" unminimized

           Section 702 information to foreign governments to obtain required technical and linguistic



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                      The legislative history provides some support for the government's contention, at least
           in certain circumstances. See H.R. Rep. No. 95-1283, pt.1 at 57 ("Because minimization is only
           required with respect to information concerning U.S. persons, where communications are
           encoded or otherwise not processed, so that the contents of the communication are unknown,
           there is no requirement to minimize the acquisition, retention, or dissemination of such
           communications until their contents are known.").

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           assistance, subject to the same restrictions that apply to what the amended procedures refer to as

           "disclosure."

                     The provisions in question apply to infonnation that, because of its "technical or

           linguistic content," requires assistance from a foreign partner "in determining [its] meaning or

           significance," CIA Minimization Procedures§ 7.c.3; NSA Minimization Procedures§ l I(b), and

           confine the use and retention of such information by the foreign recipients to what is needed to

           provide that assistance. Accordingly, the Court finds that these provisions comport with Section

           180 l (h)( I), even if it assumed arguendo that transmittal of the information constitutes a

           "dissemination." Additionally, under Section 1801 (h)(2), it can be argued that the provision of

           such infonnation to assisting foreign governments is not a dissemination "in a manner that

           identifies any United States person" - until the required assistance is obtained, any U.S.-person

           identities within the information are presumably unidentifiable. In any case, the transmittal of

           such information is "necessary to understand foreign intelligence information or assess its

           importance" and therefore permissible under Section 1801(h)(2), even if it is assumed to involve

           a dissemination in a manner that identifies a U.S. person.

                               2.          Responding to Improper Taskings

                    In addition to those changes, a new provision at Section 4(f) of the NSA Minimization

           Procedures addresses delays in responding to and remediating the improper tasking of selectors.

          In order to evaluate this provision, it is useful to place it in the context of compliance problems

           that prompted the Court to direct the government to consider revising the NSA's procedures in




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           this regard. See Docket No.                          der Regarding NSA Tasking Errors (Apr. 2, 2021);

                                                der (Aug. 12, 2021) ("August 12, 2021 Order").




           Order Dated Apr. 2, 2021 at 2 (June 21, 2021) ("June 21, 2021 Report"). In February and April

           2018, as part of its regular review of selectors tasked by NSA, NSD raised concerns that the

          activities of such persons were too attenuated from the authorized purpose of acquisitions under

                                           See June 2018 QR at 30-31; September 2018 QR at 26-27; March 201 9

          QR at 11.

                    In May 2018, NSD told NSA that the tasking of four other facilities used by persons

                                                      had been improper. See June 21 , 2021 Report at 4 n.4. NSA

          promptly detasked them. Id. At that time, NSD "had not determined that all taskings based on a

          user's involvement

          were improper, but ''out of an abundance of caution" NSA a]so detasked in May 2018                th4I
          facilities mentioned above (except those that had already been detasked for other reasons). Id. at




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           4. But NSA continued to issue reports containing information acquired from tasking thell

           facilities until June 20, 2018. See id. at 15-16.

                    In August 2018, NSD advised NSA that thes.askings had been improper. Id. at 5. In

           November 2018, "NSD reiterated to NSA that NSD and ODNI had determined that

           facilities had been tasked in error because there was an insufficient connection to
                                                                                                               th.
                                                   ould constitute compliance incidents." Id. at 5, 18. Later in

           November 2018, "NSD further advised NSA that collection resulting from prior taskings where

           the users lacked sufficient connection                                             ust be purged and any

           reports issued must be recalled." Id. at 5. But NSA did not then take any steps to purge

           information acquired from thes.kings. Id. at 6. Finally, in September 2020, October

           2020, and January 2021 , NSA placed identifiers for this information on its Master Purge List



                                           Id. at 21 ; October 18, 2018 Opinion at 129. In February 2021, NSA

          finally commenced destruction of this improperly acquired information by putting these

           identifiers in "purge state." See June 21, 2021 Report at 21.

                    There were also delays in NSA's recall of intelligence reports that contained such

          information. NSA did not recall most of the 242 reports it initially identified until January 2021 .

           June 21, 2021 Report at 16-17. NSA used inc                t I   !   I   arameters in some of its initial efforts

           to identify reports for recall. See Docket No.                           Report in Response to the Court's

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           Order Dated Aug. 12, 2021 at 6-7 (Sept. l 0, 2021) ("September 10, 2021 Report"). In June

           2021 , NSA issued recall notices for additional reports. Id. Further efforts were required to

           remove reports from a system maintained by the Defense Intelligence Agency (DIA) and

           accessible to analysts throughout the Intelligence Community (IC). See id. at 8-9; Docket No.

                               upp. Report in Response to the Court's Order Dated Aug. 12, 2021 at 5-6, 8-9

           (Nov. 10, 2021) (''November 10, 2021 Report"); December 2021 QR at 150. Due to a coding

           error, NSA improperly retained some reports on a back-up server until December 2021.

           Preliminary Notice of a Compliance Incident Regarding the NSA's Retention of Reports Subject

           to Recall that Contained Information Acquired Pursuant to PISA (Dec. 30, 2021 ).

                    In the August 12, 2021 Order, the Court directed that, when the government requests

           approval of Section 702 certifications and related procedures, it

                    should address what additional measures may guard against similar improper
                    taskings and delayed remedial responses, with specific consideration of revising
                    targeting and minimization procedures to (i) explicitly require prompt destruction
                    of information acquired under any improper tasking; (ii) restrict or prohibit
                    dissemination of information obtained from a tasking, the propriety of which is in
                    question, unless and until a conclusive determination that the facility was properly
                    tasked is made; and (iii) establish deadlines for meeting destruction requirements
                    and recalling reports for PISA-compliance reasons.

          August 12, 2021 Order at 3-4.

                    Section 4(f) was adopted in response. It requires NSD to promptly review NSA 's

          documentation of the basis for NSA's taskings and NSA must cooperate in that review. NSA

          Minimization Procedures § 4(1)(1 ). Once NSD notifies NSA and ODNI in writing of an

          assessment "that the basis for tasking [a] selector may be insufficient,"



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                     NSA shall promptly, and not later than 10 business days, initiate the process to (I)
                     identify all information acquired from the tasking of that selector and reporting of
                     such information and (2) place the identifiers for that information on the [MPL]
                     .. . as they are identified to limit further use or dissemination of that information.

           § 4(t)(l)-(2). NSA must complete that process within 90 calendar days of receiving written

           notification of such an assessment. § 4(f)(2). If for any reason it is unable to do so, the

           circumstances must be reported promptly to the FISC. Id.




                     Once a written notification is made under Section 4(f)(l ), NSD and ODNI, with the

           cooperation of NSA, "shall make a final determination regarding the propriety of the tasking as

           expeditiously as practical." § 4(t)(3). NSD shall promptly report to the FISC any instance in

           which a final determination is not made within 60 calendar days. Id. Upon written notifi~ation

           of a final determination by NSD and ODNJ of an improper tasking, NSA must destroy

           information acquired from the tasking and revise or recall disseminations that contain such

           information. § 4(t)(4).22 NSA has 30 calendar days - from the time that it has both received

           such a final determination and completed the process under Section 4(t)(2) "to identify and limit




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                    Conversely, if NSD and ODNI finally determine that the tasking in question was
           proper, NSA may remove the pertinent identifiers from the MPL and retain and use the
           information in accordance with other provisions of the NSA Minimization Procedures. § 4(f)(5).


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           the use of all information" acquired by the tasking - to complete those steps. § 4(t)(4). At this

           stage also, failure to meet the applicable deadline must be reported to the FISC promptly. Id.

                     The government contends that it is not feasible for NSA to begin to destroy any

           information acquired from an improper tasking until the identifiers for all information acquired

           by it have been put on the MPL. October 18, 2021 Memorandum at 9.




                     These new procedures should guard against protracted delays like those described above.

           As long as the government complies with the reporting requirements triggered by failure to meet

           one of the deadlines, the Court will be able to examine the causes of any delay, and potentially

           resolve them.23 The one important action that is not subject to a deadline is NSD's preliminary

           determination under Section 4(f)(l ) that the basis for a tasking may have been insufficient

           (though NSD is required to promptly review tasking determinations). Because of the preliminary




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                    For example, it appears that disagreement between NSA and NSD re ardin the extent
           to which NSA was authorized to ac uire information about
                                                ay have contributed to the above-described delays. See
                                              ing unsuccessful effort by NSA to persuade NSD to reverse
                                                      taskings were improper).


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           nature of such assessments and the low bar established for making them - that the basis for a

           tasking "may be insufficient,"§ 4(f)(l) - the Court expects NSD to act expeditiously when

           warranted, so that steps are taken to protect the affected information from further use or

           dissemination until a final determination is made.

                     F.        Conclusion

                     For the reasons stated herein and in the Court's opinions in the Prior 702 Dockets, the

           Court concludes that, as written, the proposed minimization procedures for the FBI, NSA, CIA,

           and NCTC, in conjunction with the querying procedures for those agencies, satisfy the definition

           of minimization procedures at 50 U.S.C. § 180 l (h); and that those querying procedures, as

           written, satisfy the requirements of Section 702(f)(l ).

           V.        FOURTH AMENDMENT REQUIREMENTS

                     The Court must also assess whether the proposed targeting, minimization, and querying

           procedures are consistent with the requirements of the Fourth Amendment. See § 702(j)(3)(A)-

           (B). That Amendment states:

                     The right of the people to be secure in their persons, houses, papers, and effects,
                     against unreasonable searches and seizures, shall not be violated, and no Warrants
                     shall issue, but upon probable cause, supported by Oath or affirmation, and
                     particularly describing the place to be searched, and the persons or things to be
                     seized.

           "The touchstone of the Fourth Amendment is reasonableness." In re Certified Question ofLaw,

           858 F.3d 591 , 604 (FISCR 2016) (per curiam) ("In re Certified Question"). Although "[t]he

           warrant requirement is generally a tolerable proxy for 'reasonableness' when the government is

           seeking to unearth evidence of criminal wrongdoing, ... it fails properly to balance the interests

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           at stake when the government is instead seeking to preserve and protect the nation's security

           from foreign threat." Id. at 593. A warrant is therefore not required to conduct surveillance "to

          obtain foreign intelligence for national security purposes ... directed against foreign powers or

          agents of foreign powers reasonably believed to be located outside the United States." In re

          Directives Pursuant to Section 105B ofFJSA , 551 F.3d 1004, 1012 (FISCR 2008) ("In re

          Directives").

                    The FISC has repeatedly reached the same conclusion regarding Section 702 acquisitions.

          See, e.g., Docket Nos                           em. Op. and Order at 36-37 (Nov. 6, 2015)

          (''November 6, 2015, Opinion"); Sept. 4, 2008 Opinion at 34-36. In addition, all three United

          States Circuit Courts of Appeals to consider the issue have held that the incidental collection of a

          U.S. person's communications under Section 702 does not require a warrant and is reasonable

          under the Fourth Amendment. See United States v. Muhtorov, 20 F.4th 558, 594-606 (10th Cir.

          2021); United States v. Hasbajrami, 945 F.3d 641, 661-68 (2d Cir. 2019); United States v.

          Mohamud, 843 F.3d 420, 438-44 (9th Cir. 2016).24

                    In prior reviews, and consistent with its statutory responsibility to determine whether "the

          targeting, minimization, and querying procedures" are "consistent with ... the fourth

          amendment," § 702(j)(3)(A)-(B), the Court has assessed the reasonableness of Section 702

          procedures as a whole. See, e.g., December 6, 2019 Opinion at 60 (concluding that "in



                    24
                     The Tenth Circuit in Muhtorov also found that the FISC's review of Section 702
          certifications and procedures is consistent with Article ID's "case-or-controversy'' requirement
          and the corollary prohibition on advisory opinions. See 20 F.4th at 606-18; see also Mohamud,
          843 F.3d at 444 n.28 (finding that FISC opinions under Section 702 are not advisory).

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           combination, the proposed targeting, minimization, and querying procedures will adequately

           guard against error and abuse, taking into account the individual and governmental interests at

           stake"); November 6, 2015 Opinion at 39 (assessing "the combined effect" of the targeting and

           minimization procedures). Under the applicable totality-of-circumstances approach, the Court

           must balance "'the degree to which [governmental action] intrudes upon an individual's

           privacy"' against '"the degree to which it is needed for the promotion of legitimate governmental

           interests."' In re Certified Question, 858 F.3d at 604-05 (quoting Wyoming v. Houghton, 526

           U.S. 295, 300 (1999)). "The more important the government's interest, the greater the intrusion

           that may be constitutionally tolerated." In re Directives, 55 l F.3d at 1012.

                     Acquiring "foreign intelligence with an eye toward safeguarding the nation's security

           serves ... a particularly intense interest." In re Certified Question, 858 F.3d at 606 (internal

           quotation marks omitted). For that reason, "the government's investigative interest in cases

           arising under FISA is at the highest level and weighs heavily in the constitutional balancing

           process." Id. at 608. The targeting procedures help ensure that Section 702 taskings are focused

           on acquiring authorized forms of foreign intelligence information. See N SA Targeting

           Procedures § I at 4 (before tasking, NSA must make a "particularized and fact-based" assessment

           that the proposed "target is expected to possess, receive, and/or is likely to communicate foreign

           intelligence information concerning a foreign power or foreign territory authorized for targeting"

           under a Section 702 certification).

                     Turning to intrusion on Fourth Amendment-protected privacy interests, the foreign focus

           of Section 702 targeting serves to cabin such intrusion to some degree. The Court has found that


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           the targeting procedures, as written, are reasonably designed to limit acquisitions to targeting

           persons reasonably believed to be non-United States persons located outside the United States.

           See pages 16-17 supra. Such persons are not within the ambit of Fourth Amendment protection.

           See, e.g., November 6, 2015 Opinion at 38; September 4, 2008 Opinion at 37 (citing United

           States v. Verdugo-Urquidez, 494 U.S. 259, 274-75 (1990)).

                     Notwithstanding this foreign-directed targeting, the extent to which Section 702

           acquisitions involve U.S. persons should be understood to be substantial in the aggregate. The

           government tasks a large number of selectors for acquisition under Section 702. See DNI Annual

           Statistical Transparency Report Regarding the Intelligence Community's Use of National

         ' Security Surveillance Authorities at 16 (April 2021) (reporting an estimated number of202,723

          Section 702 targets in 2020). Although not separately quantified, there is presumably a

          significant number of acquisitions that implicate Fourth Amendment-protected interests, e.g.,

          when a communication between a U.S. person and a Section 702 target is intercepted.

                    The government can reduce the Fourth Amendment intrusiveness of such acquisitions by

          restricting use and disclosure of the U.S.-person information acquired. See In re Certified

          Question, 858 F .3d at 609-10. Here, the Court has found that each agency's minimization and

          querying procedures satisfy the statutory minimization requirements, see pages 17-58 supra,

          including that they "are reasonably designed . . . to minimize the acquisition and retention, and

          prohibit the dissemination" of private U.S.-person information, "consistent with the need of the

          United States to obtain, produce, and disseminate foreign intelligence information" and that they

          require that private information "which is not foreign intelligence information, as defmed in[§

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            1801 (e)(1 )], shall not be disseminated in a manner that identifies any United States person,

           without such person's consent, unless such person's identity is necessary to understand foreign

           intelligence information or assess its importance." § 1801(h)(l)-(2). Such protections can weigh

           considerably- even decisively- in assessing reasonableness under the Fourth Amendment.

                     If the protections that are in place for individual privacy interests are sufficient in
                     light of the governmental interest at stake, the constitutional scales will tilt in
                     favor of upholding the government's actions. If, however, those protections are
                     insufficient to alleviate the risks of government error and abuse, the scales will tip
                     toward a finding of unconstitutionality.

           In re Directives, 551 F.3d at 1012.

                     Protections relating to use ofU.S.-person query terms are particularly significant in the

           FISC's Fourth Amendment review. "When the government queries Section 702 data to identify

           and examine information about a particular U.S. person, ... it typically has an investigative or

           analytical interest regarding that person, who necessarily was not a target" of Section 702

           acquisition. October 18, 2018 Opinion at 65. Such queries can also result in a further, post-

           acquisition "intrusion into the privacy of such U.S. persons, who may have enjoyed the

           protection of anonymity until information concerning them was retrieved" by a query. Id. at 65-

           66 (internal quotation marks omitted). Additional Fourth Amendment concerns can arise when

           the FBI uses U.S.-person query terms to identify evidence of crimes that are unrelated to national

           security threats. Even though there is an exception to the Fourth Amendment's warrant

           requirement for surveillance "conducted to obtain foreign intelligence for national security

           purposes and ... directed against foreign powers or agents of foreign powers reasonably believed

           to be located outside the United States," that exception "might not apply in everyday criminal


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           investigations unrelated to national security and foreign intelligence needs." In re DNJ/AG

           702(h) Certifications, 941 F.3d at 559 (footnote and internal quotation marks omitted).

                     In 2018, after the enactment of the querying provisions in Section 702(f), see FISA

           Amendments Reauthorization Act of 2017 ("Reauthorization Act") § 101 , Pub. L. No. 115-118,

           132 Stat. 3 (2018), the FISC entertained amici arguments that it should regard queries as distinct

           Fourth Amendment searches. See October 18, 2018 Opinion at 85-88. The Court declined to do

           for the following reasons.25 First, although the querying requirements introduced by the

           Reauthorization Act "reflect congressional views on the reasonableness of querying practices and

           strongly suggest congressional recognition that Fourth Amendment concerns are implicated" by

           Section 702 queries, they "expand statutory protections, not the scope of what constitutes an

           independent search under the Fourth Amendment." October 18, 2018 Opinion at 87.

                    The Court was also unpersuaded that cases cited by the amici established that "queries of

           Section 702 information [must] be considered distinct Fourth Amendment events." Id. Some of

           those cases "involved property voluntarily provided to law enforcement by a third party and

           subsequent law-enforcement searches that exceeded the scope of the prior examination by that

           third party." Id. (distinguishing Walter v. United States, 447 U.S. 649 (1980), United States v.

           Runyan, 275 F.3d 449 (5th Cir. 2001), and United States v. Bowman, 215 F.3d 951 (9th Cir.

           2001)). Amici also relied on Riley v. California, 573 U.S. 373 (2014) (warrant required to search

           cell phone lawfully seized as incident to an arrest) and Carpenter v. United States, 138 S. Ct.



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                    The FISC previously entertained similar arguments from an amicus in 2015 and
           reached the same conclusion. November 6, 2015 Opinion at 40-41 .

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           2206 (2018) (acquisition from a third party of cell-site records revelatory of a person's location

           constituted a Fourth Amendment search). The Court found that these precedents were not

           "instructive" regarding "the government's examination of information lawfully acquired under a

           statutory framework that requires a judicial determination that the totality of attendant

           circumstances, including the government's acquisition, retention, use, and dissemination of such

           information, is reasonable under the Fourth Amendment." October 18, 2018 Opinion at 87-88.

                     Of course, this choice of analytical framework did not leave the Court's Fourth

           Amendment review toothless: under the totality-of-circumstances approach discussed above, the

           Court found the FBI's querying and minimization procedures to be inconsistent with Fourth

           Amendment requirements because the FBI would likely conduct broad, suspicionless queries.

           See id. at 88-92. 26

                    In 2019, the Second Circuit held that querying Section 702 information, at least when

           designed to retrieve information about particular U.S. persons, should be regarded as "a separate

           Fourth Amendment event that, in itself, must be reasonable." Hasbajrami, 945 F.3d at 670. 27 In


                    On appeal, the FISCR did not reach whether the FBI's procedures were consistent with
                    26

          the Fourth Amendment. In re DNI/AG 702(h) Certifications, 941 F.3d at 563. It did, however,
          provide guidance to the government and the FISC regarding further consideration of the issue.
          Id. at 563-65. It also observed that the enactment of§ 702(f)(2) was apparently addressed at
          "compliance with the Fourth Amendment" and "designed to avert any constitutional challenge to
          the FBI's conduct" regarding certain types of U.S.-person queries. Id. at 559-60. The FISCR did
          not, however, suggest that U.S.-person queries should be analyzed as separate Fourth
          Amendment searches.

                    The district court in the Mohamud case, calling it a "very close question," reached the
                    27

          contrary conclusion, i.e., that a query oflawfully collected Section 702 information using a U.S.-
          person identifier is "not a separate search." United States v. Mohamud, No. 3:10-cr-475-KI-1,
                                                                                                (continued ... )

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          so doing, the Second Circuit relied on a number of the cases considered by the FISC in 2018.

          See id. at 670-72 (discussing Riley, Runyan, Mulder, and Carpenter). It also noted the "vast

          body of information" acquired and available for querying under Section 702, which "may make it

          easier to target wide-ranging information about a given United States person." Id. at 671-72.

          Permitting

                    that information to be accessed indiscriminately, for domestic law enforcement
                    purposes, without any reason to believe that the individual is involved in any
                    criminal activity .. . or even that any information about the person is likely to be
                    in the database, just to see if there is anything incriminating in any conversations
                    that might happen to be there, would be at odds with the bedrock Fourth
                    Amendment concept that law enforcement agents may not invade the privacy of
                    individuals without some objective reason to believe that evidence of crime will
                    be found.

          Id. at 672. The October 18, 2018 Opinion expressed similar concerns:

                    The goal of the Fourth Amendment is to protect individuals from arbitrary
                    government intrusions on their privacy. The FBI's use of unjustified queries
                    squarely implicates that purpose: the FBI searched for, and presumably examined
                    when found, private communications of particular U.S. persons on arbitrary
                    grounds such as their living near an investigative subject or working in a hotel
                    frequented by an investigative subject.

          October 18, 2018 Opinion at 89 (citations omitted).

                    The Second Circuit took the additional step of "(t]reating querying as a Fourth

          Amendment event" to provide "a backstop to protect the privacy interests of United States

          persons and ensure that they are not being improperly targeted" by unjustified queries. 945 F.3d




                   7(. ..continued)
                    2

          2014 WL 2866749 at *26 (D. Or. June 24, 2014), affd, 843 F.3d 420 (9th Cir. 2016). The Ninth
          Circuit did not reach that issue on appeal.

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           at 672. This Court respectfully adheres to the view that those objectives are properly served, at

           least in the context of the FISC's review of procedures under§ 702(i)(3)(A)-(B), by examining

           the reasonableness of such procedures as a whole.

                    The Court has carefully considered how the proposed procedures protect private U.S.-

           person information from unjustified intrusion and misuse. It concludes that, in combination, the

           proposed targeting, minimization, and querying procedures, as written, adequately guard against

           error and abuse, taking into account the individual and governmental interests at stake. The

           Court accordingly finds that targeting, minimization, and querying procedures, as written, are

           consistent with the requirements of the Fourth Amendment, insofar as they relate to the proposed

           forms of acquisition other tha

                    The Court also finds that the FBI's minimization and querying procedures, as likely to be

           implemented, are consistent with Fourth Amendment requirements. That finding, as well as the

          finding that those procedures satisfy statutory minimization requirements, see page 49 supra,

          depends on the Court's evaluation of the likely efficacy of efforts to improve FBI querying

           practices. See pages 34-44, 46-49 supra. The Court is well aware that fundamental

           misunderstandings of querying requirements have been evident within the FBI since 2018. See

          October 18, 2018 Opinion at 69, 77 (citing a lack of common understanding between FBI and

          NSD about the meaning and application of the querying standard); Querying Violations Order at

           13-14 (describing problems in September 2021 as "substantial and persistent" and "likely to

           remain intractable as long as the FBI and NSD lack a shared, reasonable understanding of the

          querying standard"). In view of that history, the government should carefully monitor the


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           effectiveness of the measures it has adopted and be proactive in implementing additional ones if

           problems persist.

                     Perfect implementation is unrealistic and "some potential for error is not a sufficient

           reason" to invalidate procedures as unreasonable. In re Directives, 551 F.3d at 1015.

           Nevertheless, if the scope and pervasiveness of FBI querying violations were to continue

           unabated, they would present greater statutory and Fourth Amendment difficulties in the future.

           There is a point at which it would be untenable to base findings of sufficiency on long promised,

           but still unrealized, improvements in bow the FBI queries Section 702 information.

                     Issues regarding implementation of the other sets of procedures are addressed in Part VI

           immediately below.

           VI.       IMPLEMENTATION AND COMPLIANCE ISSUES

                     FISC review of the sufficiency of Section 702 procedures is not limited to the procedures

           as written, but also encompasses how they are likely to be implemented. See, e.g., October 18,

           2018 Opinion at 68. How an agency implements existing procedures "can be relevant to

           determining whether proposed procedures comply with FISA 's requirements," "to the extent that

           they serve as indicia of how proposed procedures will be implemented in the future." In re

           DNIIAG 702(h) Certifications, 941 F.3d at 564.

                     A.        NSA Queryin& Issues

                     Under NSA's querying procedures,

                     [a]ny United States person query term used to identify and select unminimized
                     section 702-acquired content must first be approved by NSA' s Office of General
                     Counsel. NSA personnel seeking such an approval must provide a statement of


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                     facts establishing that the use of any such identifier as a selection term is
                     reasonably likely to retrieve foreign intelligence information.

           NSA Querying Procedures § IV.A. NSA may approve the use of a U.S.-person query term to

           query unminimized content information for up to one year, with the possibility of renewals for up

           to one year. Id. Any use of a U.S.-person query term to query unminimized non-content

           metadata "must be accompanied by a statement of facts showing that the use of [the] query term

           is reasonably likely to retrieve foreign intelligence information." ld. 28

                    NSA 's use of a querying tool                         as sometimes resulted in violations of these

           requirements.                      sists analysts in making foreignness determinations regarding facilities

           proposed for tasking under Section 702. It enables "queries across multiple datasets, which may

           include information, including content, acquired pursuant to multiple FISA authorities, including

           Section 702." Preliminary Notice of Possible Compliance Incidents Regarding Improper Queries

          at 3 (Feb. 5, 2021) ("Feb. 5, 2021 Notice").

                                does not just execute queries using identifiers entered by NSA analysts. It also

          employs an "enrichment process" to discover within NSA systems other identifiers that are used

           by the same person, or associated with the same communications facility, as the "seed identifier"

          initially entered by an analyst. See Supplemental Notice of Compliance Incidents Regarding




                    28
                     These procedures defme "query" to mean "the use of one or more terms to retrieve the
          unminimized contents or noncontents (including metadata) of section 702-acquired information
          that is located in an NSA system," but exclude from that definition circumstances where a user
          "does not receive unminimized section 702-acquired information in response to the query either
          because the user has not been granted access to" such information or because the user "has
          limited the query such that it cannot retrieve" such information." § ID.A.

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           Improper Queries at 3-4 (Mar. 28, 2022) ("March 28, 2022 Notice"); NSA OIG Evaluation of

           United States Person Identifiers Used to Query FISA Section 702 Data EV-19-0001 , ii n.2, 17

           n.43 (Sept. 29, 2021) ("OIG Sept. 2021 Rept."). 29                                    ns queries using

           identifiers discovered through this enrichment process, as well as the initial seed identifier.

                     In order to avoid running queries that use known U.S.-person identifiers that have not

           been approved as U.S.-person query terms

           known U.S.-person identifiers drawn from NSA'

                                           March 28, 2022 Notice at 3. If the seed identifier is not found on the

                                                      xecutes queries using both the seed identifier and any other

           identifiers correlated with that seed identifier discovered through the enrichment process. Id. at

           4.

                     These processes have sometimes resulted in violations of the requirements for using U.S.-

           person query tenns. For example                       nrichment process has discovered identifiers

           otherwise known by NSA to pertain to U.S. persons when their corresponding seed identifiers

           were not known to do so at the time of the query (and therefore presumably did not appear on the



                     29
                     To the extent this enrichment process interacts with raw Section 702 infonnation, it
           appears to be a type of process regarding which the government has undertaken to provide
           additional infonnation, as discussed at pages 79-80 infra.
                     30
                                                   SA system used, in part, to prevent the tasking and
           unintentional querying of facilities known to be used by United States persons." See December
           2017 QR at 68 n.21 .
                     31
                   ~ S A 's primary repository for reference target knowledge" in which analysts
           can manage and collaborate on target knowledge. See OIG Sept. 2021 Rept. at 19 n.52.

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           defeat list). Queries using these U.S.•person identifiers were run automatically, without the

          approvals required for use ofU.S.-person query terms. Id. at 7. In a separate incident, a seed

          identifier otherwise known by NSA to pertain to a U.S. person was not blocked by the defeat list

           an                 iscovered and ran queries using ten other identifiers associated with the U.S.

          person. Id. at 6. NSA is unable to determine if this seed identifier was on the defeat list at the

           time of the query because the list is continuously updated. Id.

                    After completing its investigation o              elated compliance problems, which were

          initially uncovered by the NSA Office oflnspector General (NSA OIG),32 the government

          identified improper queries using 18 U.S.-person identifiers that resulted fro

          enrichment process and assessed that other improper U.S.-person queries also likely occurred.

          See March 28, 2022 Notice at 5.33

                    To address these compliance issues, the government is "currently developing a plan to

          enrich the identifiers on the defeat list to include their correlated identifiers." See March 28,

          2022 Notice at 8. Augmenting the defeat list in this fashion should result in blockin

          queries of known U.S.-person identifiers th                     nrichment process associates with a



                     32
                          See Feb. 5, 2021 Notice at 2-3; OIG Sept. 2021 Rept.

                   The government separately reported 77 queries using 55 U.S.-person identifiers,
                     33

          discovered through the same 010 investigation, that had not been properly approved as U.S.-
          person query terms. See Notice of a Compliance Incident Regarding hnproper United States
          Person Queries at 2 (May 21, 2021 ). The government also discovered queries using 35 U.S.-
          person identifiers between January 2019 and March 2019 that were conducted after their
          approvals were no longer valid. See Final Notice of Compliance Incidents Regarding Improper
          United States Person Queries at 2 (Nov. 23, 2021). These incidents appear to have involved
          human error, rather than a systems problem, and were addressed through training.

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           seed identifier. Id. at 9. The government also reports that these efforts should help prevent

           automated queries of other U.S.-person identifiers discovered through the enrichment process.

           Id.

                     There is reason to expect that these efforts should improve compliance by more

           effectively avoiding automatic querying of known U .S.-person identifiers without proper

           approval. The Court expects to be updated on the status of relevant systems changes. After

           assessing the scope of current problems and efforts to address them, the Court concludes that

           these               elated compliance issues do not preclude a finding that NSA querying and

           minimization procedures, as likely to be implemented, are consistent with statutory and Fourth

           Amendment requirements, insofar as they relate

                    B.        Implementation of FBI Tareetine Procedures

                    The FBI Targeting Procedures require NSA, when requesting FBI to

                                           a Designated Account, to provide FBI with identifying information for the

          account. See FBI Targeting Procedures § I.2. In November 2020, the Court considered a

          potential form of non-compliance involving NSA's not consistently providing identifying

          information to the FBI in support                                               om accounts that had

          already been subject to one or more such requests ("refresh requests"). The Court noted that a

          refresh request should be treated as a new request under the FBI Targeting Procedures, and that it

          would continue to monitor the implementation of information-sharing requirements to evaluate

          whether they adequately protect against targeting U.S. persons or persons in the United States.

          See November 18, 2020 Opinion at 37-38.

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                    The government reports that since November 2020, NSA, CIA, and FBI have updated

           systems, procedures, and training to ensure that a refresh request is supported by identifying



                                at is deemed reliable and became known to an agency since the time of a

           previous request for the same account. See Update Regarding Implementation of the FBI Section

           702 Targeting Procedures at 2-3 (Oct. 20, 2021). These updates provide reason to expect that the

           relevant provisions of the targeting procedures will be applied properly. Although a handful of

          other incidents have been reported involving NSA not providing the FBI with certain required

          information, they either pre-dated or followed closely on the heels of the above-noted updates.

          See Semiannual Report of the Attorney General Concerning Acquisitions Under Section 702 of

           FISA at 98-100 (Mar. 11, 2022).

                    Relatedly, the government has advised that

                 the FBI is aware of situations                     ·nfonnation i n i ~
               ~ A has not been included when NSA sent the FB.........._
               - e q u e st                                                          thas
                 determined that the FBI                                           a Designated
                 Account following the FBI's completion of the required checks using both the
                 information provided by NSA and that originally was identified by the FBI, rather
                 than wait for N SA to provide the FBI with the information originally identified by
                 the FBI.

          October 18, 2021 Memorandum at 27-28. That is sensible when FBI personnel are confident that

          they know what NSA has omitted and can properly factor it into their assessment

          request. But that may not always be the case. NSA shm1ld be as forthcoming as possible in

          providing reliable target information, even when it originated with the FBI. On balance,



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           however, in view of the implementation updates noted above, the Court finds that the FBI

           Targeting Procedures as likely to be implemented meet statutory and Fourth Amendment

           requirements.

                     C.        Failure to Pur2e Recalled Reports

                     In March 2019, the government reported that NCTC had failed to purge several recalled

           NSA reports containing FISA-acquired information. See Preliminary Notice of Compliance

           Incident Regarding Incomplete Purges of Data Acquired Pursuant to FISA (Mar. 13, 2019).

           Following an ODNI data call regarding the recall of reports, the government assessed that the

           CIA and NSA also had s stems that did not purge reports for PISA-compliance reasons. See

           Docket Nos                            Report in Response to Order Dated Oct. 3, 2019 at 4-7 (Nov. 4 ,

          2019). In response, the ODNI revised its DNI IC policy memorandum on recalling intelligence

          products to add a new category to notify recipients that a product has been recalled for a FISA-

          compliance reason and must be removed with steps taken to prevent its further use or disclosure.

          See Docket Nos                              eport in Response to Mem. Op. and Order Dated Dec. 6,

          2019 at 5 (Feb. 28, 2020). The revised IC policy memorandum ("ICPM 200(01)") also directed

          all IC elements to revise their internal regulations to implement the procedures mandated therein.

          See id. at 6.

                    In response to a reporting requirement imposed by the Court in November 18, 2020, see

          Opinion at 56-58, 65, the government has filed five updates regarding implementation of the

          revised ODNI policy. See Supplemental Report in Response to the Court's Memorandum

          Opinion and Order Dated November 18, 2020, Feb. 17, 2022 ("February 17, 2022 Supplemental


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           Report") (earlier reports were filed on March I, 2021, May 28, 2021, August 27, 202 1, and

           November 18, 2021 ). These reports have detailed steady progress in the fonn of system changes,

           internal policy standards and training, and interagency coordination.

                     For example, NSD discovered that the Defense Intelligence Agency (DIA) had retained a

           potentially "significant number" of recalled NSA reports, including some recalled for FISA-

           compliance reasons, as a result of DIA not being aware that NSA was using a communication

           channel                               o send recall notices. August 27, 2021 Supplemental Report at

           12-13 n. l O; Preliminary Notice of a Compliance Incident Regarding Retention of Data Acquired

           Pursuant to FISA at 3 (Aug. 20, 2021). DIA then searched for and located 262 reports containing

           information acquired by non-compliant Section 702 taskings that were being retained in a DIA

           database that is accessible IC-wide. See Su        lemental Report in Response to the Court's Order

           Dated August 12, 2021 at 8-9                            ov. 10, 2021 ). These reports have since been

           removed. The government                          t at, as of September 1, 202 I, DIA was routinely

           identifying all incoming FISA-compliance recall requests and removing recalled reports from all

           DIA systems. See Supplemental Notice of a Compliance Incident Regarding Retention of Data

           Acquired Pursuant to FISA at 4 (Jan. 25, 2022); February 17, 2022 Supplemental Report at 13-

           14. This incident, however, indicates a need for continued coordination among IC elements

           regarding the interagency recall processes. See November 18, 2021 Supplemental Report at 14;

           see also February 17, 2022 Supplemental Report at 8 n.5 .

                     In February 2022, the government advised that NSA, CIA, FBI and NCTC continue to

           coordinate and develop their policies and procedures to identify and handle disseminated


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           analytical products derived from reports recalled for PISA-compliance reasons, and have

           completed most of their work to implement the revised ODNI policy. The government commits

           to continue to provide progress updates to the Court, but given the few remaining steps to be

           taken, plans to provide the next update by February 17, 2023, instead of on a quarterly basis.

           February 17, 2022 Supplemental Report at 15. The Court finds this approach reasonable and

           incorporates it into the reporting requirements set out at the end of this Opinion.

                     D.        Update on User Activity Monitorini: Activities

                     Each agency's minimization procedures include a provision regarding the retention and

           use of Section 702 information captured through processes that monitor employee activities to

           detect insider threats (collectively referred to as ''user activity monitoring" or "UAM"). Such

           activities are exempt from the definition of "query'' in the agencies' respective querying

           procedures. See FBI Querying Procedures § ill.A , NSA Querying Procedures § ill.A, CIA

           Querying Procedures § ill.A. When it first approved these provisions in December 2019, the

           Court noted that changes in the scope or functioning of UAM activities could affect the factual

           bases for such approval and ordered the government to update its descriptions ofUAM systems

           and processes employed by the FBI, CIA, and NSA no later than March 26, 2021 , i.e., two years

           from the government's prior UAM submissions. See December 6, 2019 Opinion at 35, 41 .

                     In particular, the Court required these updates to describe:

                     (1) the nature and scope ofUAM activities being conducted, the user activities
                     subjected to monitoring, and the types of information being captured; (2) the
                     repositories in which UAM data resides, and the access restrictions and controls in
                     place to limit access to such repositories; (3) the authorized purpose for which
                     such data may be accessed; and (4) the number and types of personnel who have



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                     access to UAM data, and the training required for such personnel to obtain such
                     access.

           Id. at 82-83. The Court also required an updated assessment of the amount of unminimized

           Section 702-acquired information stored in the UAM repositories of each agency, the agency's

           experience with finding such information in its UAM repositories, and any other relevant

           considerations. See id. at 83; November 18, 2020 Opinion at 66 (retaining this requirement).

                     On March 26, 2021 , the government filed an update on each agency's UAM activities. 34

           No agency identified any instances of unminimized FISA-acquired information having been

           captured by a UAM tool, and each agency continues to assess that only a small amount of

           unminimized Section 702-acquired information is likely to be contained in their respective UAM

           repositories. See at FBI UAM Update March 26, 2021 at l 0-11; CIA/NCTC UAM Update

           March 26, 202 1 at 12, 14; NSA UAM Update March 26, 2021 at 10.

                    NSA reported no changes to its UAM systems and procedures. NSA UAM Update

           March 26, 2021 at 7-9. CIA advised that it has increased the number of personnel who have

           access to UAM data                      ue to an increase in the number of systems monitored.

           CIA/NCTC UAM Update March 26, 2021 at 13. Access to CIA UAM repositories continues to




                    34
                     Specifically, the government filed an update for the FBI, one for the CIA and NCTC,
           and one for NSA, each of which was titled "Government's Updated Description of the [agency
           name] Insider Threat and Routine Employee Monitoring Activities and Assessed Implications for
           the FISA Standard Minimization and Querying Procedures." The respective reports are cited
           herein as "FBI UAM Update March 26, 2021 ," "CIA/NCTC UAM Update March 26, 2021," and
           "NSA UAM Update March 26, 2021 ."

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           be restricted to authorized personnel for UAM purposes and interactions with the data is logged

           and available for audit. CIA/NCTC Update March 26, 2021 at 13-14.

                    The FBI's update notes that the UAM activities subject to monitoring have not changed

                                                                 FBI UAM Update March 26, 2021 at 8 n.4.

           Although access to the FBI UAM tool has been expanded to include, among others, Office of

           General Counsel personnel, the policies and procedures for access have not changed. Id. at 9-10.

           At present there are approximately              ersonnel authorized to access the UAM tool. Id. at

           1I. Each is required to complete FISA training prior to gaining access. The policies and

           procedures used by other insider threat program stakeholders to request access to UAM data have

           also not changed. Id. at 8-13.

                    Based on the information provided, the government appears to be appropriately limiting

          access to UAM data and is otherwise adhering to the restrictions and controls in place for

           repositories of such data. The Court sees no basis to depart from its prior conclusion that the

          agencies' DAM-related practices do not preclude a finding that their querying and minimization

          procedures, as implemented, are consistent with statutory and Fourth Amendment requirements.

                    E.        Other Incidents

                    The government has identified a number of other incidents of non-compliance with the

          applicable procedures since the November 18, 2020 Opinion. These include, for example,

          delayed detasking of selectors as a result of human error, staffing issues, poor interagency

          communication or misunderstanding of the rules. See, e.g., December 2021 QR at 30-57

          (reportin.SA detasking errors). Notices filed over the last year indicate that NSA continues



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           to experience problems of varying magnitude with the over-retention of Section 702-acquired

           infonnation on its many systems, including failures to completely delete data subject to a purge

           requirement. See, e.g., id. at 129-31 , 133-34; March 2022 QR at 66-67. Also recurring are NSA

           queries of Section 702-acquired information using U.S.-person identifiers that had not been

           properly approved. Many of those incidents are attributed to a failure to perfonn the appropriate

           checks to determine the "foreignness" of a proposed target. Personnel are routinely being

           reminded of the query requirements. See, e.g., March 2022 QR at 63-65.

                     In addition to the instances of non-compliance discussed in preceding sections of this

           Opinion, the Court has considered the nature and frequency of other incidents reported since the

           November 18, 2020 Opinion and finds the steps taken by the government to address them and

           prevent similar occurrences to be reasonable. Only two further circumstances merit specific

           discussion here.

                               l.          NSA's Retention of Content Used as Ouei:y Terms

                     ht May 2021, NSA advised NSD that it is retaining, as part of query audit records,

                          cquired pursuant to various FISA authorities that have been used as query terms,

           without regard to otherwise applicable destruction requirements. See Preliminary Notice of a

           Potential Compliance htcident Regarding the Unauthorized Retention of Information Acquired

           Pursuant to FISA and Notice of Deviation Pursuant to NSA's Section 702 Minimization

           Procedures at 2 (Oct. 15, 2021) ("October 15, 2021 Deviation Notice"). NSA also advised that

           these query audit records are only accessible for oversight purposes. Id. NSA's querying

           procedures require it to maintain records of each U.S.-person query term used for at least five


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           years. See NSA Section 702 Queryin~ Procedures§ JV.B.(l)(a), (3). As a general matter, access

           to records of other query terms should facilitate oversight efforts also.

                     Section 2(b)(5) of the NSA Minimization Procedures provides that "[s]hould NSA

           determine it is necessary to deviate from an aspect of these procedures to perform lawful

           oversight functions ... , NSA shall consult with NSD and ODNI prior to conducting such an

           activity. NSD shall promptly report the deviation to the FISC." The government assessed that

           such a deviation is appropriate to retain                            sed as query terms to facilitate

           auditing of queries, which is a lawful oversight function. See October 15, 2021 Deviation Notice

           at 3. The Court finds that the NSA 's retention of query audit records to date has been reasonable

           under the circumstances; it expects, however, to be updated regarding the length of the applicable

           retention period.35

                               2.          NSA's Automated Processing Activities

                     Issues regarding NSA's automated processing of data arose in the context of proposed

           revisions to its querying procedures

           The overnrnent described an aut




                                                  The Court, through its staff, expressed concern that the process used

                                              might involve a "query" of raw Section 702 information, as defined at



                    35 NSA initially took the position that the records in question should be retained for 30

           years, but NSA and NSD are now considering a shorter period. See id. at 3 n.4.

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           Section ID.A of the NSA Querying Procedures, that is not reasonably likely to retrieve foreign

           intelligence information. Following further discussions concerning whether similar automated

           processes might involve queries under that definition, the government omitted from the final

           NSA procedures now pending before the Court any provisions related to such

                     The government has, however, committed to provide the Court with additional

           information and analysis concerning how NSA's automated processes interact with Section 702

           information. See Government's Proposal Regarding Reports to the FISC Pertaining to NSA's

           Automated Processing Activities That Use Unminimized Section 702-Acquired Data at 4 (March

           28, 2022). By July 21, 2022, the government proposes to submit a factual description of the

           various categories of processing activities that interact with raw Section 702 information,

           including examples to illustrate the scope of each category, and to describe the parameters of

           such processing and the controls in place to ensure compliance with NSA's minimization and

           querying procedures. By August 19, 2022, the government proposes to submit a legal analysis of

           such processing activities, including whether they comport with statutory requirements and

           NSA's procedures, and to offer any proposed amendments to NSA's querying and minimization

           procedures. Id. at 4-5. The timeline proposed by the government appears reasonable, provided

           that it does not delay the ordinary reporting to the Court of any non-compliance discovered.

           And, to the extent non-compliance with applicable procedures is identified, the government

          should consider and address options other than amending the procedures to authorize what they

           now prohibit.




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                     After considering the overall state of implementation of the current targeting, querying,

           and minimization procedures, the Court finds that the proposed procedures, as reasonably

           expected to be implemented, comply with applicable statutory and Fourth Amendment

           re uirements, insofar as they relate to forms of Section 702 acquisitio

                           he Court addresses issues presented by that proposal next.




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               Id. In a declaration filed with the 2022 Amendments, NSA official

               explained the basis for NSA's assessment that the targets are non-United States persons located

■
               outside the United States:




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                     Amicus presents three arguments in support of the conclusio                                 ch as

           those described above cannot be authorized under Section 702. The Court examines each of

           them below.39

                               1.




                                               ee Reply Brief of Amicus Curiae at 5 (June 16, 2021) ("Amicus

                                              acquisitions previously proposed by the government and authorized




                     39 When certifications and procedures have presented issues regarding the permissible

           scope of acquisitions under Section 702, the FISC has addressed them as part of its review under
           Section 702(j)(l)-(3). See October 18, 2018 Opinion at 18-45 (analyzing whether proposed
           forms of acquisition complied with Section 702(b)(5)).

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           first to present the question whether Section 702 can be used t



                                                                               e starting point in considering that question is the text

           of the statute, the plain meaning of which must be given effect if "the disposition required by the

           text is not absurd." Lamie v. US. Trustee, 540 U.S. 526, 534 (2004) (internal quotation marks

           omitted).

                                                a.       Acguisitions Authorized Under Section 702(a)

                            The government's authority to acquire information pursuant to Section 702 flows from

           Section 702(a), which is titled "Authorization" and states:

                                Notwithstanding any other provision of law, upon the issuance of an order
                       in accordance with subsection (j)(3) or a determination under subsection (c)(2),
                       the Attorney General and the Director of National futelligence may authorize
                       jointly, for a period of up to I year from the effective date of the authorization, the
                       targeting of persons reasonably believed to be located outside the United States to
                       acquire foreign inte]]igence information.

           This provision limits what acquisitions may be authorized in two ways: 1) the target of the

           acquisition must be a person reasonably believed to be located outside the United States; and 2)

           the purpose of the targeting must be to acquire foreign intelligence information.40 "Foreign




                           40 See also Section 702(h)(2)(A)(v) (requiring the AG and DNI to certify that a significant

           purpo       •    A       ♦   •   I    &   I   &   a a   I   A   •    gn intelligence information). There is every reason to
           expect                                                              ill acquire foreign intelligence information. See pages
           119-2   '            ,
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           intelligence infonnation" is defined in tenns of the national security-related purposes to which

           the government may put infonnation. See 50 U.S.C. § 180 I (e), made applicable to Title VII of

           PISA by§ 1881(a). There is nothing in that definition that suggests foreign intelligence

           infonnatio                                                                               ccordingly, the

           authorizing language of Section 702 provides no basis for limiting Section 702 acquisitions to



                                           b.   Limitations on Acquisitions Under Section 702(b)

                     Section 702(b) imposes six further limitations on acquisitions authorized under Section

           702(a). The first two limitations track Section 702(a) by providing that such acquisitions may

           not intentionally target any person known to be located in the United States, and may not do so

           indirectly by intentionally targeting a person reasonably believed to be outside the United States

           "if tbe purpose .. . is to target a particular, known person reasonably believed to be in the United

           States." Section 702(b)(l )-(2). Under the third limitation, an acquisition may not intentionally

           target a U.S. person reasonably believed to be located outside of the United States. Section

           702(b)(3). These limitations do not distinguish between



                     The next two limitations are address

           acquisition authorized under Section 702(a): (1 ) may not intentionally acquire a communication

           if, at the time of acquisition, the sender and all intended recipients are known to be in the United

           States, Section 702(b)(4}; and (2) may not intentionally acquire communications that contain a




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           reference to, but are not to or from, a Section 702 target (commonly referred to as "abouts"

           communications), subject to an exception that does not apply here. Section 702(b)(5).

                     Finally, under the sixth limitation, an acquisition authorized under Section 702(a) must be

           "conducted in a manner consistent with" the Fourth Amendment. Section 702(b)(6).

                    Examined separately or as a whole, the Section 702(b) limitations do not exclud

                                              om acquisitions that may be authorized under the broad language

                                                 · ·         tion 702 where one would first look for a

           limitation on wha                                 e acquired do not support the one posited by

          am1cus.

                    But the inquiry does not end there. The Court has "a duty to construe statutes, not

          isolated provisions," Graham County Soil & Water Conservation Dist. v. United States ex rel.

           Wilson, 559 U.S. 280, 289 (2010) (internal quotation marks omitted), and "the words of a statute

          must be read in their context and with a view to their place in the overaJI statutory scheme."

          Roberts v. Sea-Land Servs., Inc., 566 U.S. 93 , 101 (2012) (internal quotation marks omitted).

          Amicus's argument relies significantly on two additional provisions of Section 702: (1) the

          requirement in Section 702(h)(2)(A)(vi) that acquisitions involve obtaining foreign intelligence

          information from or with the assistance of an electronic communication service provider (ECSP);

          and (2) the provisions regulating queries in Section 702(f).




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                                           c.   From or With the Assistance of an ECSP Under Section
                                                702(h)(2)(A)(vi)

                     A Section 702 certification must "attest that .. . the acquisition involves obtaining foreign

           intelligence information from or with the assistance of an [ECSP]." Section 702(h)(2){A)(vi).

          The definition of "electronic communication service provider" is quite broad;4 1 however, there

           are clearly many entities that are not ECSPs but that could provide, or assist the government in

          acquiring, foreign intelligence information about a valid Section 702 target. For example, an

           airline might possess information about a target's flight reservations that could constitute foreign

          intelligence information. But because the airline is not an ECSP, Section 702 could not be used

           to authorize acquisition of that information from the airline. In that way, Section

          702{h)(2)(A)(vi) limits what information can be authorized for acquisition under Section 702(a).

                    Amicus would go a step further and infi

                                                Brief of Amicus Curiae at 27-28 (May 18, 2021) ("Amicus Brief').



                    41
                         The term "electronic communication service provider" means

                    (A) a telecommunications carrier, as that term is defined in section 153 of Title
                    47;
                    (B) a provider of electronic communication service, as that term is defined in
                    section 2510 of Title 18;
                    (C) a provider of remote computing service, as that term is defined in section
                    2711 ofTitle 18;
                    (D) any other communication service provider who bas access to wire or
                    electronic communications either as such communications are transmitted or as
                    such communications are stored; or
                    (E) an officer, employee, or agent of an entity described in subparagraph (A), (B),
                    (C), or (D).

          50 U.S.C. § 188l(b)(4).

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           But that is more than Section 702(h)(2)(A)(vi) states or fairly implies. Frequently, even



                                                                                  as recogmze t at t e

           government may acquir                                               om an ECSP under Section 702.

           "[I]t is conceivable that some small amount of account information i




           in that prior opinion. But the                                      is irrelevant under the language of

           Section 702(h)(2)(A)(vi). If a type of acquisition involves obtaining foreign intelligence

           information from or with the assistance of an ECSP,         I . I     I I    . I   ith Section

           702(h)(2)(A)(vi). As discussed at pages 107-09 infr II                             n this case involves

           acquiring foreign intelligence information with the assistance of an ECSP.

                                           d.   Querying Provisions at Section 702{{)

                    Section 702(f)(l)(A) requires the AG, in consultation with the DNI, to adopt querying

           procedures "for information collected pursuant to an authorization" under Section 702(a)

          (emphasis added). Those procedures must be consistent with Fourth Amendment requirements

          and "include a technical procedure whereby a record is kept of each United States person query

           term used for a query." Section 702(t)(l)(A)-(B). A "query'' is defined as "the use of one or

          more terms to retrieve the unminimized contents or noncontents located in electronic and data

          storage systems ofcommunications ofor concerning United States persons obtained through


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           acquisitions authorized" under Section 702(a). Section 702(f)(3)(B) (emphasis added). As

           discussed at note 4 on page 25 supra, the FBI is required, under narrowly delineated

           circumstances, to obtain an order from the FISC before accessing "the contents of

           communications" retrieved by a query of un-minimized Section 702 information conducted in

           support of a predicated criminal investigation that is unrelated to national security. Section

           702(f)(2)(A) (emphasis added). The evident aim of these provisions is to provide additional

           protection for certain queries that implicate U.S.-person information.

                     Amicus notes the extent to which the querying provisions discussed above, as well as

           certain reporting requirements relating to queries, see 50 U.S.C. § l 873(b)(2)(B)-(C), refer to

           "communications" as having been acquired pursuant to Section 702. Amicus Reply Brief at 8-

           10, 19-20.42 By their terms, these provisions do not address searches run only against

                                data, even if they use U.S.-person identifiers and are conducted in support of

           criminal investigations unrelated to national security. From the fact that Congress

                                                                                            amicus would infer

                                                                                            But that inference runs

           counter to the plain meaning of the authorization language at Section 702(a), which is unaltered

           by Section 702(f). And the Court does not see anything "absurd," Lamie, 540 U.S. at 534, in

           applying each provision by its own terms, with the result that the requirements of Section 702(f)




                     42
                     Although, as the reference to "information" in Section 702(f)(l )(A) demonstrates, the
           practice is not uniform. See also Section 702(f)(2)(F)(i)-(ii) (referring to querying "of
           information acquired under [Section 702(a)]").

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                     Finally, amicus's argument relies heavily on legislative history. See Amicus Brief at 33-

           65. Because the Court has not identified a pertinent ambiguity in the statutory text, it is not

           necessary to advert to legislative history. See, e.g., Whitfield v. United States, 543 U.S. 209,2 15

           (2005). Nonetheless, it is appropriate to explain why the cited legislative history does not carry

           the day.

                     Amicus has marshaled impressive evidence from floor statements, committee reports, and

           other documentation that legislators did no

           under Section 702 at the time of the PISA Amendments Act and the Reauthorization Act.

           Rather, it seems clear tha

           But in evaluating a new - even expansive - application of a statute, the essential question is not

           what, if anything, legislators thought or said about it at the time of enactment. It is whether the




                                                           not or an y mterpret ater-enacte prov1s1ons
           directed at one topic (searching data already acquired) as implicitly narrowing the scope of
           previously enacted provisions that govern a different topic (scope of data that may be acquired).
           Cf Bostock v. Clayton County, Georgia, 140 S. Ct. 1731, 1753 (2020) (Congress "does not alter
           the fundamental details of a regulatory scheme in vague terms or ancillary provisions") (internal
           quotation marks omitted).

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           enacted language, fairly read, contemplates that application. "Even if Congress did not foresee

           all of the applications of the statute, that is no reason not to give the statutory text a fair reading."

           Encino Motorcars, LLC v. Navarro, 138 S. Ct. 1134, 1143 (2018); accord Lewis v. City of

           Chicago, 560 U.S. 205,215 (2010) ("It is not for us to rewrite the statute so that it covers only

           what we think is necessary to achieve what we think Congress really intended."); Lockhart v.

           United States, 546 U.S. 142, 146 (2005) {"The fact that Congress may not have foreseen all of

           the consequences of a statutory enactment is not a sufficient reason for refusing to give effect to

           its plain meaning.") (internal quotation marks omitted). In particular, the legislative history' s

           silence regarding a proposed application of a statute "cannot override the words of the statute."

           Sedima, S.P.R.L. v. lmrex Co., Inc. , 473 U.S. 479, 495 n.13 (1985). Accordingly, the legislative

           history adduced by the aIDicus does not justify departure from the plain meaning of Section

           702.44

                    In short, Section 702(a) provides the government broad authority to target persons outside

           the United States to acquire foreign intellig~nce information. None oft

          702(b) prohibit the government from targeting non-U.S. persons abroad




                                                               'Where Congress includes limttmg anguage
           m an ear 1er version o a 1    u e e es 1 pnor o enactment, it may be presumed that the
          limitation was not intended." Russello v. United States, 464 U.S. 16, 23-24 (1983). Because,
          however, the enacted text is clearer than the reasons that the limiting language was omitted, the
          Court does not afford much weight to this omission.

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                                                  involve obtaining foreign intelligence information with the

           assistance of an ECSP. Section 702(f) regulates how the government may conduct searches of

           communications after they have been acquired, but does not limit the scope of permissible

           acquisition under Section 702. Accordingly, the Court finds                                 s such, are

           not excluded from authorization under Section 702.

                              2.


                    Amicus als



                     See Amicus Brief at 69-89; Amicus Assessment at 15-17. The Court disagrees.

                    The FISC has often authorized




          between t

          concludes that the government's only legal option is to proce

          Section 702. Amicus Brief at 70-81. Specifically, amicus suggests that the government proceed




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                                        he government can still choose to proceed under Section 702 if it satisfies

           the requirements stated therein. Indeed, the contrary view - that authorization under Section 702

           is categorically unavailabl

                                  is inconsistent with the purpose and historical implementation of Section 702.

                    Congress enacted Section 702 partly in res

          changes had subjected new forms of acquisition t




          "First enacted in 2008, Section 702 was intended to address some of FISA's perceived

          limitations." Hasbajrami, 945 F.3d at 650. Notably, "Section 702 does not require a probable

          cause determination before undertaking surveillance," nor does it require the government to

          specify "the nature and location of each of the particular facilities or places at which the

          electronic surveillance will occur. " Id. at 651 (internal quotation marks omitted). But if Section




                    In practice, Section 702 was not interpreted so narrow ly. ''The government transitioned

           ... some portion of the collection ... that had been occurring under individual FISA orders to

          directives issued" under Section 702's short-lived predecessor, the Protect America Act. PCLOB




                    45
                   These concerns arose largely regarding agents of international terrorist groups, who
          were not amenable to targeting under the above-referenced certification process under §§
          1802(a)(l ) and 1822(a)(l).

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           Report at 19.46 "After passage of the PISA Amendments Act, the government transitioned the

           collection activities that had been conducted under the Protect America Act to Section 702." Id.




                    More importantly, amicus's interpretation is not supported by the text of FISA. Section

           702's authorization language states: "Notwithstanding any other provision oflaw, . .. the '

           Attorney General and the Director of National Intelligence may authorize jointly ... the targeting

           of persons reasonably believed to be located outside the United States to acquire foreign

          intelligence information." Section 702(a) (emphasis added). The use of a "notwithstanding"

          clause signals legislative intent that the provisions of that clause override conflicting provisions

          of any other section. Cisneros v. Alpine Ridge Group, 508 U.S. 10, 18 (1993); see also Liberty

          Maritime Corp. v. United States, 928 F.2d 413,416 (D.C. Cir. 1991) (interpreting clause

          beginning ''Notwithstanding any other provision of law ..." to override other sections of the same

          statute); Bank ofNew England Old Colony, N.A. v. Clark, 986 F.2d 600,604 (1st Cir. 1993)

          (similar language described as "manifesting a clear intent to override any conflicting statutes in

          existence"). Thus, Section 702(a), by its terms, overrides any requirements for other forms of

          authorization that another statutory provision might otherwise impose.



                    The Protect America Act, Pub. L. 110-55, 121 Stat. 552 (2007), was enacted in August
                    46

          2007 as "a temporary measure." PCLOB Report at 19.

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           includes , rather than excludes, Section 702 as a means of authorization. 48 It therefore does not

           support amicus's position.




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                                                                                                            icus

           would draw the negative implication that Section 702, unlike Section 703 , is not a means of

           authorizin                             and invokes the canon expressio unius est exclusio alterius in

           that effort. Amicus Brief at 81 .

                     The force of any negative implication, however, depends on context. We have
                     long held that the expressio unius canon does not apply unless it is fair to suppose
                     that Congress considered the unnamed possibility and meant to say no to it, and
                     that the canon can be overcome by contrary indications that adopting a particular
                     rule or statute was probably not meant to signal [an] exclusion.

           Marx v. General Revenue Corp. , 568 U.S. 371, 381 (2013) (internal quotation marks and

           citations omitted). Here, the context refutes any negative implication

                                    utside what may be authorized under Section 702. Amicus's suggested

           implication fails because the relevant provisions do not expressly list items in an "associated

           group or series," which is what justifies an inference that an item not mentioned was excluded by

           deliberate choice. Barnhart v. Peabody Coal Co., 537 U.S. 149, 168 (2003). And as noted




                     Accordingly, the Court concludes that, if an acquisition may be authorized in accordance

           with the terms of Section 702, authorization pursuant to Section 702 is sufficient,




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                               3.          The Limitations at Section 702(b)(4):(5)

                                                                                      will involve acquisition of

                                                                             ontrary to the limitations at Section

           702(b)(4) and (b)(5), respectively.

                     Under Section 702(b)(4), an acquisition authorized under Section 702(a) "may not

           intentionally acquire any communications as to which the sender and all intended recipients are

           known at the time of the acquisition to be located in the United States." Amicus argues that the




           acquisition. Amicus Reply Brief at 11-16.

                     The Court does not find this argument persuasive. Taking for granted that amicus




                                                                    Section 702(b). Section 702(a) provides a

           means of authorizing "the targeting of persons reasonably believed to be located outside the



                                                                                                                   Page 100

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          JJnited States to acquire foreign intelligence information."

                                                      onstitute the foreign intelligence information to be

           acquired pursuant to this proposed authorization, and there is no reason to ex




          for purposes of Section 702(b)(4).49

                    The contrary interpretation advanced b

          means clear why Congress would choose to




                    49
                     The defmitions of "acquire" and "acquisition" support this understanding. See
          Webster's II New College Dictionary 10 (2001) (defining "acquire" as " l . To gain possession or
          control of: Get . . . 2. To come to have" and "acquisition" as " l. The act of acquiring. 2.
          Something acquired"); Black's Law Dictionary 26 (9th ed. 2009) (defining "acquire" as "To gain
          possession or control of; to get or obtain" and "acquisition" as "l . The
          control over somethin . .. 2. Somethin ac uired"




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                     Of course, no such problems arise on the understanding that the communications to and

           from the targeted account constitute information acquired by the acquisition authorized under

           Section 702(a), while th                                        oes not. 50

                     Amicus makes a similar argument regarding Section 702(b)(5), which provides (subject

           to an exception not applicable to this case) that an acquisition authorized under Section 702(a)

           "may not intentionally acquire communications that contain a reference to, but are not to or from,

           a target of an acquisition authorized under [Section 702(a)]." Amicus Reply Brief at 16-17;

           Arnicus Assessment at 17-19. This argument fails for the same reasons stated above in the

           Section 702(b)(4) context.

           acquisition of which is authorized under Section 702(a),

                                              51



                     Having concluded that there is no general or structural impediment

                         under Section 702, the Court next examines the pertinent certification and procedures.



                    50
                     Section 702(d)(l )(B) requires the targeting procedures to be reasonably designed to
           "prevent the intentional acquisition of any communication as to which the sender and all
           intended recipients are known at the time of the acquisitio               ·        ·
                                       I i th       urt d es not re ard



           communications,
           minimization procedures. See pages 116-17 infra. If there is a domestic communication or an
           abouts communication                            SA must handle it in accordance with
           applicable minimization restnct1ons, w 1c reqmre abouts communications to be destroyed upon
           recognition in all cases. See NSA Minimization Procedures§§ 4(c)(3), 6; page 117 infra.

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                     D.        Certification

                                                                                                        ontains all

           the required elements insofar as it relates to

                     The Court reviews the government's certifications to determine whether they contain all

           the required elements. Section 702(j)(2)(A). The Court has already found that the 2021

           Certifications have been made under oath by the AG and the DNI and that they contain the

           attestations required by Section 702(h)(2)(A). See pages 11-12 supra. In the context of

           Certification                those attestations are made for th                                s2   The

           attestation under Section 702(h)(2)(A)(vi) that the acquisition involves obtaining foreign

           intelligence information from or with the assistance of an ECSP presents particular issues



                     In proceedings under Section 702(i), the Court typically has limited information about

           particular acquisitions



                                                 See Section 702(h)(4). In this case, however, the government's

           submissions provide considerable detail about

                                                                 See March 30, 2021 Memorandum at 3. In



                    52
                    See DNVAG 702(h) Certification-(certification made "based on the
           representations made" in the supporting affidavit of the Director of the NSA); Affidavit of the
           Director of the NSA su orting DNI/AG 702(h) Certificatio~describing
                                         Substantially the same language appears in the amendment to this
                        an its accompanying affidavit. See Amendment to DNI/AG 702(h) Certification
                         DIR.NSA Affidavit for Amendment to Certification

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           particular, the government provided its analysis as to why, in its view

                               with the assistance" of an ECSP, as attested to in the certification. Id. at 21-23.

               e ourt appointed the amicus to brief this issue. Docket No.                            der Appointing

           Amicus Curiae at 3 (Mar. 30, 2021).

                     At the outset, the Court considers what form of review it should conduct regarding this

           attestation. The Supreme Court has stated that judicial review of executive action will not be cut

           off unless there is persuasive reason to believe that such was the purpose of Congress. Gutierrez

           de Martinez v. Lamagno, 515 U.S. 417,424 ( 1995). Accordingly, where the language of the

           statute was reasonably susceptible to different interpretations regarding judicial review, the Court

           applied the presumption "that executive determinations generally are subject to judicial review

           and that mechanical judgments are not the kind federal courts are set up to render." Id. at 434.

                     Martinez involved unusual circumstances that weighed in favor of judicial review. The

           Attorney General, whose delegee had made the certification at issue, supported judicial review

           because the certifying Department of Justice official had a compelling interest to make the

           certification. If accepted, moreover, the certification would dispose of the entire case, leaving the

           plaintiffs with no recourse. See id. at 424, 427-29.




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                     In other contexts, courts have applied limited review to certifications by executive branch

           officials53 or even declined to review the basis for them at all. 54 Certifications of relevance to an

           ongoing criminal investigation in support of pen register/trap-and-trace applications under 18

           U.S.C. § 3122 are not substantively examined.55 In the FISA context, some courts have

           emphasized the deference to be shown to certifications made under 50 U.S.C. § l 804(a)(6) in

           support of electronic surveillance applications under Title I ofFISA.56 The FISCR, on the other

           hand, has acknowledged circumstances in which a FISC judge may probe the basis of a

           certification under§ l 804(a)(6)(B) that a significant purpose of the surveillance is to obtain

           foreign intelligence information: "if the FISA court has reason to doubt that the government has


                     53
                      Impounded, 11 7 F.3d 730, 735-36 (3d Cir. 1997) (court had jurisdiction to review a
           certification under 18 U.S.C. § 5032 only for technical defects, for whether a crime is one of
           violence, and for whether the certification was made in bad faith or for improper purposes).
                     54
                    See United States v. Al-Hamdi, 356 F.3d 564, 572 (4th Cir. 2004) (traditional view in
           cases involving diplomatic immunity and the Article JI power to send and receive ambassadors is
           not one of judicial review).
                     55
                     See United States v. Fregoso, 60 F.3d 1314, 1320 (8th Cir. 1995) (judicial role in
           approving use of trap and trace devices is "ministerial in nature"); In re Application ofthe United
           States for an Order ()) Authorizing the Use ofa Pen Register and Trap and Trace Device and
           (2) Authorizing Release ofSubscriber Info. and/or Cell-Site Info. , 396 F. Supp. 2d 294, 304
           (E.D.N.Y . 2005) (Orenstein, M.J.) ("a prosecutor need only certify that the information to be
           obtained via pen/trap devices is relevant . .. and a court must thereupon grant the request")
           (internal quotation marks omitted).
                     56
                     See United States v. Osmakac, 868 F.3d 937, 953 (11th Cir. 2017) (certifications are
           subject only to minimal scrutiny) (internal quotation marks omitted); United States v.
           Mohammad, 339 F.Supp. 3d 724, 736 (N.D . Ohio 2018) (certification "presumed valid and
           subjected only to minimal scrutiny"); United States v. Huang, 15 F.Supp. 3d 1131 , 1140 (D.N.M.
           2014) (judge "is not to second-guess the executive branch official's certification") (internal
           quotation marks omitted); United States v. Sherifi, 793 F.Supp. 2d 751 , 760 (E.D.N.C. 2011)
           (according "a presumption of validity" to certifications).

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           any real non-prosecutorial purpose in seeking foreign intelligence infonnation it can demand

           further inquiry into the certifying officer's purpose." In re Sealed Case, 310 F.3d 717, 736

           (FISCR 2002) (per curiam). But Sealed Case involved electronic surveillance of a U.S.-person

           target. Id. at 720. As the FISCR noted, the standard for reviewing a certification made in

           support of an application for a Title I electronic surveillance order depends on whether the target

           is a U.S. person. See id. at 723-24. In order to grant such an application for a U.S.-person target,

           a FISC judge must find that the certification is "not clearly erroneous on the basis of the

           statement made under [ § 1804(a)(7)(E)57] and any other infonnation furnished under

           [§ 1804(d)58]." § 1805(a)(4). Fortargetswhoarenot U.S. persons, therequiredjudicial finding

           is merely that the application "contains all statements and certifications required by [§ 1804]."

           Id. Because the statute prescribes a different fonn of review for certifications for targets who are

           not U.S. persons, there is reason to believe that the type of review described in Sealed Case

           applies only when the target is a U.S. person.

                     In this proceeding, Section 702(j)(2)(A) directs the Court simply to review the

           certification "to detennine whether [it] contains all the required elements." The AG and DNI are

           not required to state their basis for making any of the required attestations. They are, however,

                     57
                      There is no provision at § 1804(a)(7)(E). The intended reference evidently is to §
           1804(a)(6)(E), which requires the certifying official to include "a statement of the basis for the
           certification that" "the information sought is the type of foreign intelligence information
           designated" and "such information cannot reasonably be obtained by nonnal investigative
           techniques."
                    58
                     The intended reference evidently is to § 1804(c), which states that a FISC judge "may
           require the applicant to furnish such other infonnation as may be necessary to make the
           detemrinations required by [ § 1805)."

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           required to submit to the FISC the ''written certification and any supporting affidavit." Section

           702(h)(l )(A). In contrast, the Court reviews the targeting, minimization, and querying

           procedures "to assess whether" they meet specified statutory requirements, Section 702G)(2)(B)-

           (D), and must find that they "are consistent with [those] requirements . .. and with the fourth

           amendment" in order to issue an approval order. Section 702(j)(3)(A). These differences

           indicate that, under Section 7020), the Court is expected, at most, to conduct a deferential review

           of the attestations, including the one required by Section 702(h)(2)(A)(vi).

                    With that understanding, the Court turns to the attestation.

                    It seems cJear that the provider                                  escribed herein are

           ECSPs under the definition set out in note 41 at page 90 supra and amicus has not argued to the

           contrary. The government submits that, in order to implemen                               SA needs

           those providers to:




           The government claims that all of these activities constitute assistance from an ECSP. Id. at 22-

           23.




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                     Because the statute does not define "assistance" for purposes of Section 702,59 we look to

           its ordinary meaning, which is "[t]he act of assisting," "[h]elp," "aid." Webster's JI New College

           Dictionary at 68 (200 I).60 The assistance of an ECSP under Section 702 is obtained pursuant to a

           written directive from the AG and DNI that may require the ECSP to "immediately provide the

           Government with all information, facilities, or assistance necessary to accomplish the acquisition

           in a manner that will protect the secrecy of the acquisition and produce a minimum of

           interference with the services that such electronic communication service provider is providing to

           the target of the acquisition." Section 702(i)(l )(A) (emphasis added). This difference in

           wording raises the question whether the provision of "information" or "facilities," as described in

           Section 702(i)(l)(A), should be understood as a form of "assistance," as the latter term is used in




                     The Title VIII definition is clearly limited to Title VIII: "In this subchapter ... [t]he
                     59

           tenn 'assistance' means ...." 50 U.S.C. § 1885 (emphasis added). That definition appears in
           Title 50, chapter 36, subchapter VII of the United States Code, i.e., the subchapter in which Title
           VIlI is codified. Title VIl ofFISA, including Section 702, is codified in subchapter VI.

                   The government incorrectly claims that the FISC previously "indicated that reading the
           definition of 'assistance' from Title VIIl into Title VTI is the proper approach." Government's
           Res onse B ·

                                                                            Section 702(b)(5). October 18,
                   pm1on at         t e course o exammmg t e roa er statutory scheme" relating to that
           issue, the Court noted that the defmition of "assistance" in Title VIII includes the provision of
           "information (including communication contents, communication records, or other information
           relating to a customer or communication." Id. at 37, 39 (internal quotation marks and emphasis
           omitted). The Court did not state or fairly imply that Title VIII' s definition of "assistance"
           should be read into Title vn.
                    60
                          "Assist" is defined as "[t]o aid," "[t]o give aid or support." Id.

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                                                                                                                Page 108

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            Section 702(h)(2)(vi), or whether "information" or "facilities" should be construed to have some

            application that the term "assistance" does not. 6 1

                     But we need not resolve that issue today. Applying the deferential form of review

            warranted for this issue, the Court finds that at least some of what




            aptly described in that manner than as the provision of "information" or "facilities," exclusive of

            "assistance. •'62

                     E.
                     The government has proposed

                                     in addition to those used for other forms of Section 702 acquisition. NSA

            Targeting Procedures § VI; March 30, 2021 Memorandum at 13-1 6 . Provisions ofN SA' s




                     61
                       See, e.g., Carcieri v. Salazar, 555 U .S. 379, 391 (2009) (court is "obliged, to give
            effect, if possible, to every word Congress used") (internal quotation marks omitted).

                     62 Amicus argues that such a finding will undermine the rule of law.   See Arnicus Brief at
             103-06; Amicus Reply Brief at 39-41 . Any acquisition conducted under Section 702(a) must be
             conducted in a manner consistent with the statutory requirements, including the targeting and
             minimization procedures, and with the Fourth Amendment. Section 702(b), (c)(l)(A). Pursuant
             to Section 702(i)(4), an ECSP served with a directive can petition the FISC to modify it or set it
             aside, and a judge may grant the petition upon finding "that the directive does not meet the
                  .      ts of [Section 702], or is otherwise unlawful." Section 702(i)(4)(C). And in this case
                          roviders will provide forms of assistance that the are i       ··
                          heir operation as ECSPs
           - Opinion does not stand for the proposition that an ECSP ma
             of a    e that is unrelated to their o eration as an ECSP, e.g.


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                                                                                                               Page 109

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           targeting procedures on topics such as documentation, compliance, and oversight apply equally

                                        NSA Targeting Procedures§ VI. 63

                     The Court considers whether the NSA Targeting Procedures are "reasonably designed" to

           ensure that acquisitions from                          e "limited to targeting persons reasonably

           believed to be located outside the United States" and to "prevent the intentional acquisition of

           any communication as to which the sender and all intended recipients are known at the time of

           the acquisition to be located in the United States." § 702(j)(2)(B). As noted at page 13 supra,

           the Court also assesses whether they are reasonably designed to avoid the intentional targeting of

           U.S. persons reasonably believed to be located outside the United States, which is relevant to the

           Court's evaluation of the procedures under the Fourth Amendment.

                     Importantly, the government identifies the

                                                  March 30, 2021 Memorandum at 7 n.6. Therefor

                                                                                ccordingly, before tasking it for

                                   nder Section 702, NSA "must determine                                      enon-

           United States persons reasonably believed to be located outside the United States." Gov't Resp.

           Dec. 3, 2021 at 1-2.

                                                                              NSA will also conduct a

           "technical analysis"                                bich may occur in two parts. NSA Targeting

           Procedures § VI.A; March 30, 2021 Memorandum at 14. First, NSA may




                                                                                                            P age 110

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           NSA Targeting Procedures § VI.A. Such research may draw on open source information, U.S.

           Government reporting or information from relevant service providers. See Gov't Resp. Dec. 3,




           Id. After the amicus raised concerns about that aspect of the pre-tasking review, see Reply of

           Amicus Curiae to Gov't Resp. to Court Order at 41-42 (Dec. 13, 2021 ), the government revised

           NSA's targeting procedures to preclude




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                                                        NSA Targeting Procedures § VI.A. Also, as noted at

           page 81 supra, NSA has not and will not acquir

                                                                         ased on these understandings, the

           Court does not share the concerns expressed by anricus, see Amicus Assessment at 8-11 , that this




                     In addition, ''NSA will consider the circumstances that led to NSA's identification of the

           intended targets," such as, among other things




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                                                                                                           Page 112

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                                               'fOf §l!)CftF:l'f;'}§IHNOFORNl'RSA
                                   utside of the United States. March 30, 2021 Memorandum at 7. NSA has not

           identified any U.S.-person communication




                                                                           located within the United States,

           Supplemental Description of Pre-Targeting Determinations at 7, and NSA believes




           March 30, 2021 Memorandum at 7-8. Based on the foregoing, the Cqurt understands that NSA

           currently has no reason to believe tha                                             inside the United States

           or is a U.S. person.64




                                              determine whether: ( 1) there are indications that

           "has entered or intends to enter the United States, or is a United States person;" (2)

                                                                                                   are and continue] to

                                                                               'otherwise remain appropriate for




                                               'fOf 9fSCftt;1WSIHNOFO~ii'RSA
                                                                                                                Page I 13

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                                                     I
           tasking, to includ           ·     ·

                           re not

           located in the United States." NSA Targeting Procedures§ VI.B. 65 Post-tasking review may also




           NSA T       . ti .




                    Post-targeting analysis is of particular importance

                                                                 ee Supplemental Description of Pre-Targeting




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                     The government represents that this post-tasking review will encompass information

                                                                                                          Gov' t

           Resp. Dec. 3, 202 1 at 6 (emphasis added). But information about the location or U.S.-person




           the government acknowledges the relevance of information from those sources by adverting to

           them in describing the steps to be taken befo~                              See pages 111- 12 supra.

           Accordingly, the Court directs that NSA's post-tasking review shall include periodic examination

           of information recently obtained from those sources.

                     Based on the foregoing, the Court finds that the NSA Targeting Procedures, as they relate

                                                are reasonably designed to ensure that acquisitions are limited to

           targeting persons reasonably believed to be located outside of the United States and to prevent

           intentional acquisition of domestic communications, as well as to prevent intentional targeting of

           U .S. persons reasonably believed to be located outside the United States.




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                     F.        Minimization Procedures Relatin

                     The government proposed three changes to the NSA Minimization Procedures related to

                                              The Court reviews them to determine whether these procedures

           meet the statutory definition of minimization procedures, see page 17 supra, as they relate to the



                     First., the NSA Minimization Procedures incorporate the same

                          he NSA Targeting Procedures. NSA Minimization Procedures§ 3(d); NSA

           Targeting Procedures § VI at 11 n.5. Second,

           does not meet generally applicable retention standards and that is known to contain information

           of or concerning U.S. persons "will be destroyed upon recognition." NSA Minimization

           Procedures§ 4(c)(l). Otherwise, information                                          ay not be

           retained for longer than five years from the expiration date of the applicable certification, "unless

           NSA specifically determines tha                           cquired information meets the retention

           standards in these procedures." Id. The general effect of that provision is to apply

                                               e same retention and destruction rules that apply to information

                                                                   Id. The Court has found that the NSA

           Minimization Procedures, in combination with the NSA Querying Procedures, meet the statutory

           definition of minimization procedures regarding those more familiar forms of Section 702



                     66
                    The FBI, CIA, and NCTC
                       here is no need to modify their minimization procedures in that regard. See March
           30, 2021 Memorandum at 2 n.l .


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           acquisition. See page 58 supra. Because little, if any, U.S.-person information is reasonably

                                                                         67
           expected to be acquired fro                               ,        the Court readily finds that these

           retention and destruction rules are sufficient m thts new context.

                     The third change is prompted by the varied nature of information likely to be acquired by



                                                                               NSA analysts will categorize them as

           foreign or domestic communications, which are subject to different requirements. NSA

           Minimization Procedures § 4(b)(3).




                                              recognize that




                     67
                          NSA has no information indicating tha


                                                                                            See Supplemental
           Description of Pre-Targeting Determinations at 8-9; Marc                          emorandum at 4-7.

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                        It is therefore sensible that the procedures generally subject such infonnation to the

           rules for foreign communications, rather than domestic ones. And



                                               See§ 702(b)(5) (an acquisition under Section 702 "may not

           intentionally acquire communications that contain a reference to, but are not to or from, a target")

           (emphasis added); October 18, 2018 Opinion at 33 (concluding that




                     h1 sum, the NSA Minimization Procedures, as they relate t

           are consistent with the statutory requirements.

                     G.        Review Under the Fourth Amendment

                     Finally, the Court addresses whether NSA' s targeting, minimization, and querying

           procedures are consistent with the requirements of the Fourth Amendment insofar as they relate

                                              ee § 702(j)(3)(A)-(B).

                     As discussed abov

           the United States. Seep




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                                              See page 83 supra. Under the described circumstances, it is

                                                              ·11 involve a Fourth Amendment search or seizure at

           all. See, e.g., Verdugo-Urquidez, 494 U.S. at 274-75 (Fourth Amendment did not apply to U.S.

           agents' search and seizure of property in Mexico owned by a Mexican citizen and resident with

           no voluntary attachment to the United States); United States v. Rojas, 812 F.3d 382, 397-98 (5th

           Cir. 2016) (Fourth Amendment did not apply to wiretaps conducted in Colombia that intercepted

           communications of citizens and residents of Colombia who lacked a significant voluntary

           connection to the United States, even if U.S. agents participated in the wiretaps).

                      Even assuming that the Fourth Amendment applies, the proposed procedures, insofar as

           they relate to                            are consistent with Fourth Amendment requirements. To the

           (likely limited) extent that this operation intrudes on Fourth Amendment-protected interests, such

           intrusion is ameliorated by the protections ofNSA's minimization and querying procedures.

           Finally, in assessing reasonableness under the Fourth Amendment, any intrusion on protected

           interests must be balanced against the government's heightened interest in acquiring information

           important to national security. See page 60 supra.




           "been critical to informing policy makers and protecting U.S. national security by providing

           unique informatio




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                                                                  March 30, 2021 Memorandum at 6.

                     The Court finds that NSA's targeting, minimization, and querying procedures are

           consistent with the Fourth Amendment insofar as they relate to

           proposed in this case. That conclusion, however, rests in significant part on the Court's



                                                          For that reason, the Court is requiring prompt

           reporting in the event of certain changed or unanticipated circumstances. Specifically, the

           government shall provide to the Court a written description of any of the folJowing occurrences:




                               (c) NSA comes to believe that U.S.-person informati




           Such descriptions shall be submitted within 10 days of the applicable occurrence and describe the

           government's response thereto and assess any statutory or Fourth Amendment issues presented.




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            VIII. CONCLUSION

                     For the foregoing reasons, the Court finds that:

                     (1) The 2021 Certifications, as amended, as well as the certifications in the Prior 702

           Dockets, as thereby amended, contain all the required statutory elements;

                     (2) The targeting procedures for acquisitions conducted pursuant to the 2021

           Certifications are consistent with the requirements of Section 702(d) and of the Fourth

           Amendment;

                     (3) With respect to infonnation acquired under the 2021 Certifications, the minimization

           procedures and querying procedures are consistent with the requirements of Section 702(e) and

           Section 702(f)(I), respectively, and of the Fourth Amendment;

                     (4) With respect to information acquired under the certifications in the Prior 702 Dockets,

           as amended, the minimization procedures (including, as referenced therein, the requirements of

           the respective agencies' querying procedures) are consistent with the requirements of Section

           702(e) and of the Fourth Amendment; and

                     (5) The querying procedures approved for use in connection with DNI/AG 702(h)

           Certiftcatio




           702(f)(l ) and of the Fourth Amendment. (The Court does not make an equivalent finding

           regarding the other certifications in the Prior 702 Dockets because Section 702(f) only applies



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           ''with respect to certifications submitted under [Section 702(h)] .. . after January I, 2018."

           Reauthorization Act§ 10l(a)(2).); and, accordingly,

                     IT IS HEREBY ORDERED AS FOLLOWS:

                     (1) The government's submissions are approved, as set out below:

                               a. The 2021 Certifications, as amended, and the certifications in the Prior 702

           Dockets, as amended, are approved;

                               b. The use of the targeting procedures for acquisitions conducted pursuant to the

           2021 Certifications is approved;

                               c. With respect to information acquired under the 2021 Certifications, the use of

           the minimization procedures and querying procedures is approved; and

                               d. With respect to infonnation acquired under the certifications in the Prior 702

           Dockets, the use of the minimization procedures (including, as referenced therein, the

           requirements of the respective agencies' querying procedures) is approved;

                     (2) Separate orders memorializing the dispositions described above are being issued

           contemporaneously herewith pursuant to Section 702(j)(3)(A);

                     (3) The government shall adhere to the following requirements (prospectively, the

           government need not comply with reporting requirements imposed by FISC opinions and orders

           in the Prior 702 Dockets, except as reiterated below):

                              a. Raw information obtained by NSA' s

           Section 702,                                                                                  shall not be

           provided to the FBI, the CIA, or NCTC unless it is done pursuant to revised minimization



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           procedures that are adopted by the AG and DNI and submitted to the FISC for review in

           confonnance with Section 702;

                               b. On or before December 31 of each calendar year, the government shall submit

           a written report to the FISC: (a) describing all administrative-, civil-, or criminal-litigation

           matters necessitating preservation by the FBI, NSA, CIA, or NCTC of Section 702-acquired

           infonnation that would otherwise be subject to destruction, including the docket number and

           court or agency in which such litigation matter is pending; (b) describing the Section 702-

           acquired information preserved for each such litigation matter; and (c) describing the status of

           each such litigation matter;

                               c. The government shall promptly submit a written report describing each

           instance in which an agency invokes the provision of its minimization or querying procedures

           providing an exemption for responding to congressional mandates, as discussed in Part IV.D.3 of

           the October 18, 2018 Opinion. Each such report shall describe the circumstances of the

           deviation from the procedures and identify the specific mandate on which the deviation was

           based;

                               d. The government shall submit in each quarterly report on Section 702

           compliance matters a report of each instance in which FBI personnel accessed unminimized

           Section 702-acquired contents information that the user identified as a Query ONLY for evidence

           of crime. Except for queries for which an application is filed with the Court pursuant to Section

           702(f)(2), the report shall include the FBI's basis for concluding that the query was consistent

           with applicable procedures. This report shall also include: (i) the number ofU.S.-person queries



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           run by the FBI against Section 702-acquired information; (ii) the number of such queries

           identified by the user as evidence-of-crime-only queries; (iii) the number of instances in which

           users o              tated that they had received approval from an FBI attorney to perform a "batch

           job" that includes 100 or more queries; and (iv) the number of instances in which users o

           did not receive prior approval from an FBI attorney for such a "batch job" due to emergency

           circumstances;

                               e. The government shall continue to submit reports to the Court on a quarterly

                                                                  der Section 702. This report shall: (i) describe




                                          (ii) explain how the government is ensuring that it will only acquire

           communications to or from a Section 702 target                                                        and (iii)

           describe methods the government is using to monitor compliance with the abouts limitatio

                                                   nd report on the results of such monitoring;

                               f. No later than ten days after tasking for upstream collection under Section 702 a




                                                                                                 (ii) explain how

                                                   "II comply with the abouts limitation; and (iii) describe steps that

           will be taken during the course of the proposed acquisition to ensure that

                      s only acquiring communications to or from authorized Section 702 targets;



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                               g. On or before December 31 of each calendar year, the government shall submit

            in writing a report to the Court containing the following information: (i) the number of Section

           702-acquired products disseminated or disclosed to the National Center for Missing and

           Exploited Children (NCMEC); and (ii) the number of disseminations or disclosures by the

           NCMEC to other law-enforcement entities of Section 702-acquired information;

                               h. Prior to implementing changes to policies or practices concerning (i) the

           release of Section 702-acquired information from the NCMEC to Interpol's International Child

           Sexual Exploitation database or (ii) approval to use Section 702-acquired information

           disseminated to the NCMEC in any proceeding, the government shall make a written submission

           to the Court describing such changes and explaining why implementing them would be

           consistent with applicable minimization procedures and statutory minimization requirements;

                               i. The government shall submit an update by February 17, 2023, specifying, as

           applicable: (i) steps taken or to be taken by the FBI, NSA, CIA, and NCTC to coordinate their

           policies and procedures to identify and handle disseminated analytical reports derived from

           PISA-compliance recalled reports, and to verify receipt of notice of reports recalled for FISA-

           compliance reasons; (ii) ODNI guidance regarding the definition of the term "disseminated

           intelligence products" as used in ICOM 200(01); and (iii) steps taken or to be taken to facilitate a

           consistent application among the FBI, NSA, CIA, and NCTC of the PISA-compliance recall

           category;

                              j. The requirement to provide an update to each agency's user activity monitoring

           (UAM) submission that appears on pages 82-83 of the December 6, 2019 Opinion shall remain in



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           effect, with the next report due in March 2023 and subsequent reports due at two-year intervals

           thereafter;

                               k. No later than ten days after the NCTC Director delegates authority to any group

           chief or official within the Directorate of Identity Intelligence to make the determination required

           under NCTC Minimization Procedures § D.3.b., the government shall submit a notice to the

           Court. This notice shall: (i) identify the individual to whom the delegation was made; (ii)

           describe the duties of such individual; and (iii) explain the reason(s) for the delegation to such

           individual and the scope and duration of the delegation;

                               I. For                   uthorized herein, NSA's post-tasking review shall

           include periodic examination of information recently obtained from




           following occurrences:




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           Such descriptions shall be submitted within IO days of the applicable occurrence and describe the

           government's response thereto and assess any statutory or Fourth Amendment issues presented.

           ENTERED this ~l~ay of April, 2022.



                                                             Presiding Judge, United States Foreign
                                                             Intelligence Surveillance Court




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   Fl                   document Is a true

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